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  1   Steven T. Lowe, Esq. (SBN 122208)
      Lowe & Associates
  2
      8383 Wilshire Boulevard, Suite 1038
  3   Beverly Hills, CA 90211
      E: steven@lowelaw.com
  4
  5   Alfred (AJ) Fluehr, Esq.
      Attorney ID No.: 316503
  6
      280 N. Providence Road | Suite 1
  7   Media, PA 19063
  8   T: (215) 341-1063
      T: (215) 500-1000
  9   E: aj@francisalexander.com
 10   Law Firm / Lawyer for Plaintiff
      Moving for Admission Pro Hac Vice
 11
 12                    UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 13
 14   Sound and Color, LLC                    Case No. 2:22-cv-01508
             Plaintiff
 15                      v.
 16   Samuel Smith                            Case Filed: 3/4/2022
      Normani Kordei Hamilton
 17   Stargate
 18   Mikkel Storleer Eriksen                 Causes of Action:
      Tor Erik Hermansen                      1. Direct Infringement
 19   James John Napier                       2. Contributory Infringement
 20   Universal Music Group                   3. Vicarious Infringement
      Universal Music Operations Limited
 21   UMG Recordings Inc.                     Jury Trial Demanded
 22   Sony Music Group
      Sony Corporation of America
 23   Sony/ATV Music Publishing LLC
 24   Sony/ATV Music Publishing Ltd.
      Sony/ATV Songs LLC
 25   EMI Music Publishing LTD
 26   EMI April Music Inc.
      EMI Blackwood Music Inc.
 27   Downtown Music Publishing LLC
 28   Salli Isaak Songs LTD
      Naughty Words Limited
                                          i
                               PLAINTIFF’S COMPLAINT
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  1   Songs of NKH
      Stellar Songs Limited
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      Stellar Songs
  3   Tim & Danny Music LLC
      45th & 3rd Music LLC
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             Defendants
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                              PLAINTIFF’S COMPLAINT
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  1                              PLAINTIFF’S COMPLAINT
  2                                        Introduction
  3         1.     This music copyright infringement suit arises from copying by
  4   defendants Sam Smith (“Smith”) and Normani Kordei Hamilton (“Normani”) of
  5   Plaintiff’s 2015 song “Dancing With a Stranger” (the Plaintiffs’ composition/song
  6   recording shall hereinafter be referred to as the “Song”) to create their hit 2019 song
  7   “Dancing With a Stranger” (the Defendants’ composition/sound recording shall
  8   hereinafter be referred to as the “Infringing Song”) (collectively the “Songs”).
  9         2.     The hook/chorus in both songs—the most significant part and artistic
 10   aspect of these works—contains the lyrics “dancing with a stranger” being sung over
 11   a nearly identical melody and musical composition. In both songs, the title, hook,
 12   chorus, lyrics, and musical composition are all the same—and are repeated throughout
 13   the song giving both songs their identities.
 14         3.     A quick listen to the comparison at the following link, and consideration
 15   of the extraordinary similarities in the music videos, will quickly dispel any doubt that
 16   Plaintiff’s song was copied: https://youtu.be/Ibh1yPSCIw8.
 17         4.     The Infringing Song is certified Platinum in over ten countries and was
 18   the most-played radio track of 2019 according to several sources. It has been streamed
 19   over 3 billion times as of March 2021 and received well over 3.1 billion audience
 20   impressions from radio airplay just in 2019.
 21                                        Background
 22         5.     In February/March 2015, singer and songwriter Jordan Vincent wrote
 23   “Dancing with a Stranger” (also known as “Dancing With Strangers”), along with
 24   Christopher Miranda of the production duo known as SKX.
 25         6.     SKX is comprised of Christopher Miranda and Rosco Banlaoi, who split
 26   ownership for all SKX songs.
 27         7.     The sound recording and composition therein for Plaintiff’s song is
 28   registered at no. SR0000847699 with the copyright office, attached as Exhibit 1.
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                                  PLAINTIFF’S COMPLAINT
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  1          8.    In April 2015, Vincent, Miranda, and Banlaoi shot a music video for the
  2   Song, which primarily consisted of a young woman interpretive dancing alone in a
  3   minimalistic room/studio (the “Video”).
  4          9.    After extensively shopping the Song and Video around the industry in
  5   2015 and receiving interest (discussed more below), Vincent posted the Song on
  6   SoundCloud in January 2016. It garnered over 500,000 listens by mid-2018.
  7          10.   It was then released on Vincent’s YouTube channel, Spotify, and other
  8   streaming services on August 30, 2017, where it garnered tens of thousands more
  9   views/listens by mid-2018.
 10          11.   Following this release, Vincent also hired Rayne Music who promoted
 11   the Song and Video to industry contacts in early 2018.
 12          12.   There was interest and Rayne Music had sit down meetings with several
 13   interested parties.
 14          13.   On January 11, 2019, Vincent was alerted by a friend that superstar Sam
 15   Smith and Normani (formerly of the girl group Fifth Harmony) had released a song
 16   entitled “Dancing with A Stranger” earlier that day. The Infringing Song went on to
 17   become a massive hit, which to date has been streamed billions of times and has
 18   billions of additional radio impressions.
 19          14.   It was immediately obvious from the title, lyrics, melody, and overall
 20   production that appears in both songs, especially the hooks, that Defendants had taken
 21   Plaintiff’s work.1
 22          15.   It is beyond any real doubt that Smith, Normani, and the other defendants
 23   copied Plaintiff’s work. The protected expression in both the Infringing Song and
 24   Plaintiff’s preexisting work is nearly identical and is strikingly similar.
 25          16.   It is a common practice in music production to take a reference track and
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          When a song or work is referred to the reference includes both the composition
          and sound recording unless otherwise specified.
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                                 PLAINTIFF’S COMPLAINT
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  1   speed it up or slow it down; this results in a natural pitch shift which places it in a
  2   different key more suited to a particular singer. Tellingly, when Plaintiff’s song is
  3   slowed down from 122 bpm to the 103 bpm used by the Infringing Song, the key of
  4   the two songs match. This is a further indication that Plaintiff’s song was copied by
  5   Defendants and that they are substantially similar.
  6         17.    When the songs are compared, it is apparent that the underlying
  7   composition is nearly identical and was copied, as was the sound recording:
  8   https://youtu.be/Ibh1yPSCIw8. A copy of the side-by-side comparison video of the
  9   sound recordings shall be lodged with the court as Exhibit 4.
 10         18.    In addition to the “hook” of the songs being the same musical phrase,
 11   arranged with the same title and lyrics, Smith and Normani put out a music video for
 12   the song which is very similar to Plaintiff’s music video. Compare Plaintiff’s Video
 13   https://www.youtube.com/watch?v=JGYBUkvT3cU              with      Defendants’   Video,
 14   https://www.youtube.com/watch?v=av5JD1dfj_c. A true and correct copy of the
 15   Plaintiff’s music video shall be lodged with the court as Exhibit 5. A true and correct
 16   copy of the Defendants’ music video shall also be lodged with the court as Exhibit 6.
 17         19.    A true and correct copy of Plaintiff’s Registered Deposit Copy Sound
 18   Recording shall be lodged with the court as Exhibit 7.
 19         20.    Both videos consist of a girl performing interpretive dance alone in a
 20   minimalist studio, interspersed with shots of the male vocalist:
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 24   [left intentionally blank]
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                                   PLAINTIFF’S COMPLAINT
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  1                                      Plaintiff’s video:
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 10                                    Defendants’ Video:
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 18         21.      A girl dancing alone is not an obvious visual theme for a music video
 19   titled “Dancing With a Stranger,” tending to dispel any notion that this similarity is a
 20   coincidence.
 21         22.      When the extraordinary musical similarity between the songs is also
 22   factored in, it becomes even more apparent that it is impossible that the infringing
 23   composition and sound recording were independently created.
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 26   [left intentionally blank]
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                                   PLAINTIFF’S COMPLAINT
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  1          23.      Bizarrely, the graphic logo for Defendants’ video is practically identical
  2   in design to the logo on Vincent’s business card:
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 16          24.      Another suspicious coincidence is that the call sheet for Plaintiff’s music
 17   video specifically mentioned using the visual concept of mannequins coming to life.
 18          25.      Although this concept was not ultimately utilized in Plaintiff’s music
 19   video, Normani and the director of Defendants’ music video gave an interview in 2019
 20   discussing how Defendants wanted to use porcelain statues coming to life for their
 21   music video. The odds that such a unique but highly similar idea would have come
 22   independently to Defendants are astronomical, especially considering the other shared
 23   similarities.
 24          26.      Plaintiff is not claiming copyright infringement of the visual content of
 25   Plaintiff’s video (or infringement of Vincent’s logo) but it is evidence to dispel the
 26   possibility of independent creation.
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 28   ///
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                                     PLAINTIFF’S COMPLAINT
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  1                            Alleged Creation of Defendants’ Song
  2         27.      In late January 2019, after the Infringing Song was released to the
  3   public on January 11, 2019, defendant Smith stated in an interview with Beats Radio
  4   that he wrote the Infringing Song in one day with Stargate at The Stellar House
  5   studio during a break from his 2018 tour: “And she [Normani] was coming in that
  6   day to have a meeting with Tim [Blacksmith]. I played her the song. She just jumped
  7   on it there and then, and it was perfect.”
  8   https://www.youtube.com/watch?v=nRREIlYUv1k&feature=youtu.be&t=138, at
  9   minute 2:18.
 10          28. Smith claims that Normani and Smith were introduced that day and that
 11   Normani then spontaneously contributed to existing music Smith was working on.
 12   The day is believed to be on or around August 7, 2018.
 13          29. Upon information and belief, Normani’s presence at the studio and work
 14   with Sam Smith were not spontaneous nor coincidental.
 15          30. In May 2020, Normani referenced upcoming collaborations in an
 16   interview. https://www.dailymotion.com/video/x6jydyz. Further bolstering this
 17   conclusion is the fact that planned social media and press exposure took place in the
 18   form of social media postings by Normani’s manager on or around August 8, 2018,
 19   when the Infringing Song was allegedly written, promoting Smith and Normani
 20   working together, and music industry news outlets also reported on a Smith-Normani
 21   collaboration in late-summer, early fall 2018.
 22                         Defendants’ Had Access to Plaintiff’s Song
 23         31.      “Access” can and will be proven in several different ways:
 24         32.      First, the songs are musically strikingly similar, i.e. independent creation
 25   is extremely unlikely, especially when factoring in the selection and arrangement of
 26   the lyrics, melody, and hook.
 27         33.      Attached as Exhibit 2 is the Report of Dr. Alexander Stewart, opining
 28   that the similarities in the music and the selection and arrangement of the music,
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                                    PLAINTIFF’S COMPLAINT
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  1   production, lyrics, and other elements of the works make independent creation
  2   extremely unlikely.
  3         34.    Furthermore, it is impossible that the combined similarities between the
  4   songs outside of the musical elements—same title, same video, same logo, proposed
  5   use of mannequins—all occurred coincidentally. These similarities further preclude
  6   independent creation.
  7         35.    Second, Defendants had access to Plaintiff’s Song because it was widely
  8   distributed. Not only was Plaintiff’s Song widely “shopped” around the music
  9   industry from 2015 to 2018, but Jordan Vincent released the song publicly on
 10   SoundCloud in January 2016 and posted the Song and Video on his YouTube channel
 11   and also on Spotify, Apple Music, Tidal, Deezer, and other platforms on or around
 12   August 30, 2017. The SoundCloud posting alone accrued over 500,000 listens by mid-
 13   2018, and tens of thousands of additional views/listens on YouTube and other
 14   platforms. The fact that Plaintiff’s song received over half a million views/listens
 15   before the Infringing Song was allegedly composed in August 2018 establishes access
 16   by Defendants to Plaintiff’s work due to its sufficiently widespread distribution.
 17     Defendants’ Had Access to Plaintiff’s Song through Thrive Records; Thrive
 18   was Given Plaintiff’s Song in 2015 and then, After Defendants’ Infringing Song
 19                   was Released, Tried to Buy Plaintiff’s Song in 2020
 20         36.    Third, in the alternative, Plaintiff alleges that the Song was given to
 21   Defendants by and through Thrive Records. In 2015, Thrive Records was extremely
 22   interested in using Plaintiff’s Song for another artist, but the deal never went through.
 23   Thrive is owned by Ricardo Vinas, and the contacts were facilitated by Peter Torres,
 24   who was either employed by Thrive at that time or helping Vinas acquire the Song.
 25   Thrive was also shown the Video and also given the call sheet for the Video.
 26         37.    Thrive showed no further interest in the song in 2015.
 27         38.    Then, in May/June 2020, Peter Torres reached out to the trio out of the
 28   blue on behalf of Ricardo Vinas, Thrive’s owner. Torres was acting as an agent of
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                                  PLAINTIFF’S COMPLAINT
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   1   Ricardo and Thrive. Thrive stated that it wanted to buy Plaintiff’s Song—now five
   2   years after Thrive was first interested. Thrive had shown no interest during that
   3   intervening time period. This timing is highly unusual.
   4          39.      Thrive now wanted to give Vincent, Miranda, and Banlaoi around $3,000
   5   as an advance and some publishing rights. There, however, was a curious caveat:
   6   Thrive and Ricardo wanted all traces of Plaintiff’s Song and Video removed from all
   7   platforms before the deal was consummated.
   8          40.      All of this was bizarre as Thrive had passed on the Song in 2015, and had
   9   now contacted Vincent, Miranda, and Banlaoi out of the blue in May/June 2020 as if
  10   with an agenda or goal in mind.
  11          41.      Vincent asked Torres why Thrive was interested given that it was five
  12   years later; Torres said only that Ricardo had been listening to old songs.
  13          42.      This is not credible, because half a decade in music industry terms is a
  14   huge amount of time, when multitudes of new songs are being pushed by thousands
  15   of writers and artists every day to labels. Moreover, not only had Thrive passed on
  16   Plaintiff’s Song, but it was now stale and had already been released for four years.
  17          43.      Vincent asked Torres if Ricardo was aware of the Infringing Song and
  18   the similarities, and Torres admitted that Ricardo was aware of the similar titles, but
  19   that he was unaware of whether Ricardo knew about the melodic similarities.
  20          44.      This story does not make sense. Ricardo clearly knew the melodies and
  21   lyrics are the same because the Infringing Song was a huge hit with which Ricardo
  22   must have been familiar, and by Torres’s own admission Ricardo had recently listened
  23   to Plaintiff’s Song and wanted to buy the rights. Ricardo knew about the pronounced
  24   similarities.
  25          45.      If Ricardo and Torres had spoken about the similar titles of the two songs
  26   called Dancing With a Stranger, as Torres admits they did, then it is perfectly obvious
  27   that Thrive was aware of the other similarities.
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                                      PLAINTIFF’S COMPLAINT
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   1         46.    That Thrive misled Vincent, Miranda, and Banlaoi about whether Thrive
   2   knew about the similarities between the two songs indicates a hidden agenda behind
   3   the sudden and otherwise inexplicable decision to buy Plaintiff’s Song 5 years later.
   4         47.    Torres also probed whether Vincent, Miranda, and Banlaoi had taken
   5   legal action; when they said no, Torres insisted that they should just let Thrive and
   6   Ricardo put some money in their pockets and that suing was expensive. This, too, was
   7   very suspicious.
   8         48.    Vincent asked for a proposed contract as a demonstration of good faith.
   9   Thrive and Ricardo never sent the contract and Plaintiff’s Song was never taken down;
  10   they heard nothing further from Thrive despite multiple attempts to follow up in June
  11   and early July 2020.
  12         49.    As described below, Ricardo /Torres and Normani’s team know each
  13   other, and the fact that Ricardo attempted to buy Plaintiff’s Song after the fact
  14   knowing full well about its similarities to a major hit by Normani and Sam Smith,
  15   indicate that Defendants were well aware of Plaintiff’s Song, and had access to same.
  16         50.    Plaintiff alleges that Thrive and/or its agents gave their Song to
  17   Defendants and/or told them where it could be found prior to the Infringing Song’s
  18   creation, and that Defendants had access in this way.
  19         51.    Following this bizarre exchange and Thrive’s subsequent nonresponses,
  20   Miranda and Banlaoi were at a party at Avex House studio on July 24, 2020, and
  21   randomly saw Peter Torres. Torres was at that point employed by Avex House as head
  22   of A&R. Ricardo Vinas also was present and reacted awkwardly when he saw that
  23   Miranda and Banlaoi were there. At one point during the party, Torres pointed out to
  24   the duo that Normani’s manager Brandon Silverstein and his partner Josh Hallbauer
  25   were present; Torres was obviously acquainted with Silverstein.
  26         52.    Upon information and belief, Thrive and Ricardo are also acquainted
  27   with Silverstein, as well as Tim Blacksmith (Normani’s mentor, owner of Stellar
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                                  PLAINTIFF’S COMPLAINT
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   1   House Studio, and principal member of defendant Tim & Danny) and defendants
   2   Eriksen, Hermansen, Napier and Smith.
   3           53.   The foregoing individuals (i.e., Silverstein, Blacksmith, Eriksen,
   4   Hermansen, Napier, and Smith) were all intimately involved in the alleged creation of
   5   Infringing Song and are alleged to have had access to Plaintiff’s Song through Thrive.
   6           54.   Fifth, in the alternative, defendant Normani was given the Song by Jared
   7   Cotter. Normani used to be in the girl band Fifth Harmony. When the Plaintiff’s
   8   assignors were shopping the Song in September 2015 to Thrive Records, Jared Cotter
   9   was managing the prospective deal for the Plaintiff’s assignors and received the Song
  10   and Video as part of facilitating the deal (which eventually fell through).
  11           55.   Just two weeks later Cotter posted on social media that he was working
  12   with Normani and Fifth Harmony in the studio.
  13           56.   Cotter is reasonably believed to have given Normani the Song during that
  14   time.
  15           57.   Cotter, it should be noted, co-manages the artist, Bazzi, along with
  16   Normani’s manager, Brandon Silverstein.
  17           58.   Sixth, in the alternative, access to Plaintiff’s Song is demonstrated by
  18   Defendants’ use and mention of the ideas used and considered in the creation of
  19   Plaintiff’s music video. Vincent, Miranda, and Banlaoi created the concept of a
  20   woman interpretive dancing alone, which was counterintuitive and unique given the
  21   title of the music video “Dancing With a Stranger”. Nothing about this theme or motif
  22   is suggested by the title or lyrics of Plaintiff or Defendants’ songs.
  23           59.   Furthermore, during the creative process the Plaintiff’s assignors created
  24   call sheets which discussed using the idea of portraying lifeless mannequins coming
  25   to life. This idea, too, is unique and not suggested by the title or lyrics of the song. In
  26   fact, it is a creative and bizarre concept. Moreover, it was not used in the video. Only
  27   a limited number of people had access to the call sheet.
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                                    PLAINTIFF’S COMPLAINT
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   1          60.    The Video released by Defendants for their Infringing Song is
   2   thematically and visually similar to Plaintiff’s video. It, too, features a lone woman
   3   performing interpretative dance, interspersed with shots of a male vocalist. When
   4   viewed along with the musical, lyrical, and title similarities, the possibility of
   5   independent creation is extremely unlikely.
   6          61.    Further proof of access comes from an interview comment by Normani
   7   and the director of Defendants’ music video, Vaughan Arnell, that Defendants had
   8   considered using porcelain statues coming to life in the music video—just as the trio
   9   had wanted to do with mannequins. Plaintiff alleges that it is not possible that these
  10   commonalities, especially in combination, are the product of coincidence.
  11          62.    As a result of Defendants’ exploitation of Plaintiff’s song without
  12   permission, they obtained a massive international hit single which generated
  13   significant revenue and profits.
  14          63.    Defendants’ representatives were contacted in November 2020 about the
  15   similarities. Defendants were given every chance to come up with an innocent
  16   explanation, but, despite assurances that a response was coming including a
  17   musicological analysis and report, the Defendants never issued a response. This suit
  18   is being filed as a last resort.
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                                     PLAINTIFF’S COMPLAINT
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   1                                    THE PARTIES
   2   I.     Plaintiff
   3          A.    Sound and Color, LLC (“Sound and Color” or “Plaintiff”)
   4          64.   Plaintiff Sound and Color, LLC is a Pennsylvania limited liability
   5   company, which owns all rights and interests in Plaintiff’s Song, including the music
   6   composition copyright and sound recording copyright.
   7          65.   In February/March 2015, singer and songwriter Jordan Vincent wrote
   8   “Dancing with a Stranger” (also known as “Dancing With Strangers”), along with co-
   9   authors Christopher Miranda and Rosco Banlaoi of the production duo known as
  10   SKX.
  11          66.   In February/March 2015, singer and songwriter Jordan Vincent wrote
  12   “Dancing with a Stranger” (also known as “Dancing With Strangers”), along with
  13   Christopher Miranda of the production duo known as SKX.
  14          67.   Vincent, Miranda, and Banlaoi have transferred all of their ownership
  15   and copyright interest in the music composition and sound recording to plaintiff entity
  16   Sound and Color, LLC, which is the owner of the song. The assignment is in the
  17   process of being recorded with the Copyright Office.
  18          68.   Vincent, Miranda, and Banlaoi have transferred all of their ownership
  19   and copyright interest in the music composition and sound recording to plaintiff entity
  20   Sound and Color, LLC, which is the owner of the song. The assignment is in the
  21   process of being recorded with the Copyright Office to update its current ownership.
  22   II.    Defendants
  23          A.    Samuel Smith (“Smith”)
  24          69.   Sam Smith is a recording artist who resides in Los Angeles, CA and
  25   London, UK.
  26          70.   Defendant Smith co-authored and owns the infringing song “Dancing
  27   With a Stranger.”
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                                   PLAINTIFF’S COMPLAINT
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   1         71.    Defendant Smith directly infringed Plaintiff’s Song by duplicating it,
   2   copying it, creating derivative works, publicly performing it, and otherwise
   3   reproducing and exploiting it without authorization.
   4         72.    At all points Defendant Smith had the right and ability to control or stop
   5   the infringing conduct but failed to do so.
   6         73.    At all points as a co-author and co-owner of the Infringing Song
   7   Defendant Smith knew of the infringement and also materially contributed and caused
   8   the infringement by, including but not limited to, promoting, distributing, and selling
   9   the infringing song “Dancing With a Stranger” and/or permitting its use. This includes
  10   by licensing the song’s use, or allowing the same, on streaming and digital download
  11   services such as Spotify, YouTube, Pandora, Amazon, iTunes, and others.
  12         74.    Defendant has received significant financial benefits as a result of the
  13   infringement.
  14         75.    Although Smith has publicly claimed that he wrote the Infringing Song
  15   in a day in August 2018, giving the impression he wrote the song from his own
  16   creativity, this is not consistent with how he and his team typically create music.
  17         76.    In reality most of the songs he “writes” are collaborative efforts, as
  18   indicated by the five credited authors on “Dancing With a Stranger,” including
  19   defendants Eriksen, Hermansen, and Napier. These collaborative writing efforts
  20   typically include using preexisting pieces of music to create songs.
  21         77.    The songwriting process used by Smith and his team is relevant to how
  22   the Infringing Song was allegedly created, especially where existing music is typically
  23   used by Smith and his co-authors to create new songs.
  24         78.    For instance, Smith and Napier wrote a song in or around 2014 called
  25   “Stay With Me.” The melody was highly similar to Tom Petty’s famous “I Won’t
  26   Back Down,” leading to infringement allegations by Petty against Smith.
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                                   PLAINTIFF’S COMPLAINT
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   1         79.    Although Smith (dubiously) denied ever hearing the famous song before
   2   writing “Stay With Me,” there is little doubt that his co-authors and team had heard it
   3   and that it influenced the writing of Smith’s song.
   4         80.    Restated, Smith does not typically create songs on his own and by
   5   himself as he often states and implies, but instead the original musical ideas typically
   6   come from other sources.
   7         81.    The significance is that Defendants’ songwriting process discredits
   8   Smith’s public statements implying he wrote “Dancing With a Stranger” in a day, and
   9   also indicates that preexisting music (i.e. Plaintiff’s Song) was used to create it.
  10         B.     Normani Kordei Hamilton (“Normani”)
  11         82.    Normani Kordei Hamilton is a singer songwriter who upon information
  12   and belief resides in Los Angeles, CA and Texas.
  13         83.    Defendant Normani co-authored and co-owns the infringing song
  14   “Dancing With a Stranger.”
  15         84.    Defendant Normani directly infringed Plaintiff’s Song by duplicating it,
  16   copying it, creating derivative works, publicly performing it, and otherwise
  17   reproducing and exploiting it without authorization.
  18         85.    At all points Defendant Normani had the right and ability to control or
  19   stop the infringing conduct but failed to do so.
  20         86.    At all points as a co-author and co-owner of the Infringing Song
  21   Defendant Normani knew of the infringement and also materially contributed and
  22   caused the infringement by, including but not limited to, promoting, distributing, and
  23   selling the infringing song “Dancing With a Stranger” and/or permitting its use. This
  24   includes by licensing the song’s use, or allowing the same, on streaming and digital
  25   download services such as Spotify, YouTube, Pandora, Amazon, iTunes, and others.
  26         87.    Defendant Normani has received significant financial benefits as a result
  27   of the infringement.
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   1         C.     Stargate (“Stargate”)
   2         88.    Stargate is a production duo composed of Mikkel Eriksen and Tor
   3   Hermansen.
   4         89.    Upon information and belief it is an entity of unknown form.
   5         90.    Defendant Stargate co-authored and co-owns the Infringing Song
   6   “Dancing With a Stranger.”
   7         91.    Defendant Stargate, by and through Eriksen and Hermansen, directly
   8   infringed Plaintiff’s Song by duplicating it, copying it, creating derivative works,
   9   publicly performing it, and otherwise reproducing and exploiting it without
  10   authorization.
  11         92.    At all points Defendant Stargate had the right and ability to control or
  12   stop the infringing conduct but failed to do so.
  13         93.    At all points as a co-author and co-owner of the Infringing Song
  14   Defendant Stargate knew of the infringement and also materially contributed and
  15   caused the infringement by, including but not limited to, promoting, distributing, and
  16   selling the infringing song “Dancing With a Stranger” and/or permitting its use. This
  17   includes by licensing the song’s use, or allowing the same, on streaming and digital
  18   download services such as Spotify, YouTube, Pandora, Amazon, iTunes, and others.
  19         94.    Defendant Stargate has received significant financial benefits as a result
  20   of the infringement.
  21         D.     Mikkel Storleer Eriksen (“Eriksen”)
  22         95.    Mikkel Storleer Eriksen is a songwriter residing, upon information and
  23   belief, in Norway and Los Angeles, CA.
  24         96.    Defendant Eriksen co-authored and co-owns the Infringing Song
  25   “Dancing With a Stranger.”
  26         97.    Defendant Eriksen directly infringed Plaintiff’s Song by duplicating it,
  27   copying it, creating derivative works, publicly performing it, and otherwise
  28   reproducing and exploiting it without authorization.
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   1         98.    At all points Defendant Eriksen had the right and ability to control or
   2   stop the infringing conduct but failed to do so.
   3         99.    At all points as a co-author and co-owner of the infringing song
   4   Defendant Eriksen knew of the infringement and also materially contributed and
   5   caused the infringement by, including but not limited to, promoting, distributing, and
   6   selling the infringing song “Dancing With a Stranger” and/or permitting its use. This
   7   includes by licensing the song’s use, or allowing the same, on streaming and digital
   8   download services such as Spotify, YouTube, Pandora, Amazon, iTunes, and others.
   9         100. Defendant Eriksen has received significant financial benefits as a result
  10   of the infringement.
  11         E.     Tor Erik Hermansen (“Hermansen”)
  12         101. Tor Erik Hermansen is a songwriter residing, upon information and
  13   belief, in Norway and Los Angeles, CA.
  14         102. Defendant Hermansen co-authored and co-owns the Infringing Song
  15   “Dancing With a Stranger.”
  16         103. Defendant Hermansen directly infringed Plaintiff’s Song by duplicating
  17   it, copying it, creating derivative works, publicly performing it, and otherwise
  18   reproducing and exploiting it without authorization.
  19         104. At all points Defendant Hermansen had the right and ability to control or
  20   stop the infringing conduct but failed to do so.
  21         105. At all points as a co-author and co-owner of the infringing song
  22   Defendant Hermansen knew of the infringement and also materially contributed and
  23   caused the infringement by, including but not limited to, promoting, distributing, and
  24   selling the infringing song “Dancing With a Stranger” and/or permitting its use. This
  25   includes by licensing the song’s use, or allowing the same, on streaming and digital
  26   download services such as Spotify, YouTube, Pandora, Amazon, iTunes, and others.
  27         106. As an owner of the infringing copyright Defendant has received
  28   significant financial benefits as a result of the infringement.
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   1         F.     James John Napier aka Jimmy Napes (“Napier”)
   2         107. James John Napier is a British songwriter residing upon information and
   3   belief in the United Kingdom and Los Angeles, CA.
   4         108. Defendant Napier co-authored and co-owns the Infringing Song
   5   “Dancing With a Stranger.”
   6         109. Defendant Napier directly infringed Plaintiff’s Song by duplicating it,
   7   copying it, creating derivative works, publicly performing it, and otherwise
   8   reproducing and exploiting it without authorization.
   9         110. At all points Defendant Napier had the right and ability to control or stop
  10   the infringing conduct but failed to do so.
  11         111. At all points as a co-author and co-owner of the infringing song
  12   Defendant Napier knew of the infringement and also materially contributed and
  13   caused the infringement by, including but not limited to, promoting, distributing, and
  14   selling the infringing song “Dancing With a Stranger” and/or permitting its use. This
  15   includes by licensing the song’s use, or allowing the same, on streaming and digital
  16   download services such as Spotify, YouTube, Pandora, Amazon, iTunes, and others.
  17         112. As an owner of the infringing copyright Defendant has received
  18   significant financial benefits as a result of the infringement.
  19         G.     EMI Music Publishing LTD (“EMI Music Publishing”)
  20         113. EMI Music Publishing is owned by Sony/ATV which is doing business
  21   as Sony Music Publishing. It is unclear if it is extant entity.
  22         114. Defendant co-owns and/or publishes and/or administers the Infringing
  23   Song “Dancing With a Stranger,” at least in part.
  24         115.    Defendant EMI Music Publishing directly infringed Plaintiff’s Song by
  25   duplicating it, copying it, creating derivative works, publicly performing it, and
  26   otherwise reproducing and exploiting it without authorization.
  27         116. At all points Defendant EMI Music Publishing had the right and ability
  28   to control or stop the infringing conduct but failed to do so.
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                                    PLAINTIFF’S COMPLAINT
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   1         117. At all points as a co-owner and co-administrator of the infringing song
   2   Defendant EMI Music Publishing knew of the infringement and also materially
   3   contributed and caused the infringement by, including but not limited to, promoting,
   4   distributing, and selling the infringing song “Dancing With a Stranger” and/or
   5   permitting its use. This includes by licensing the song’s use, or allowing the same, on
   6   streaming and digital download services such as Spotify, YouTube, Pandora, Amazon,
   7   iTunes, and others.
   8         118. As an owner of the infringing copyright Defendant has received
   9   significant financial benefits as a result of the infringement
  10         H.     EMI April Music Inc. (“April Music”)
  11         119.     Defendant owns and/or publishes and/or administers the infringing song
  12   “Dancing With a Stranger,” at least in part.
  13         120.     Defendant April Music directly infringed Plaintiff’s Song by
  14   duplicating it, copying it, creating derivative works, publicly performing it, and
  15   otherwise reproducing and exploiting it without authorization.
  16         121. At all points Defendant April Music had the right and ability to control
  17   or stop the infringing conduct but failed to do so.
  18         122. At all points as a co-owner and co-administrator of the Infringing Song
  19   Defendant April Music knew of the infringement and also materially contributed and
  20   caused the infringement by, including but not limited to, promoting, distributing, and
  21   selling the infringing song “Dancing With a Stranger” and/or permitting its use. This
  22   includes by licensing the song’s use, or allowing the same, on streaming and digital
  23   download services such as Spotify, YouTube, Pandora, Amazon, iTunes, and others.
  24         123. Defendant has received significant financial benefits as a result of the
  25   infringement
  26         I.     EMI Blackwood Music Inc. (“EMI Blackwood”)
  27         124.     Defendant owns and/or publishes and/or administers the infringing song
  28   “Dancing With a Stranger,” at least in part.
                                             18
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   1         125.     Defendant EMI Blackwood directly infringed Plaintiff’s Song by
   2   duplicating it, copying it, creating derivative works, publicly performing it, and
   3   otherwise reproducing and exploiting it without authorization.
   4         126. At all points Defendant EMI Blackwood had the right and ability to
   5   control or stop the infringing conduct but failed to do so.
   6         127. At all points as a co-owner and co-administrator of the Infringing Song
   7   Defendant EMI Blackwood knew of the infringement and also materially contributed
   8   and caused the infringement by, including but not limited to, promoting, distributing,
   9   and selling the infringing song “Dancing With a Stranger” and/or permitting its use.
  10   This includes by licensing the song’s use, or allowing the same, on streaming and
  11   digital download services such as Spotify, YouTube, Pandora, Amazon, iTunes, and
  12   others.
  13         128. Defendant has received significant financial benefits as a result of the
  14   infringement
  15         J.     Salli Isaak Songs LTD (“Salli”)
  16         129. This is a publishing entity owned by defendant Napier.
  17         130. Defendant Salli owns and/or publishes and/or administers the infringing
  18   song “Dancing With a Stranger,” at least in part.
  19         131.     Defendant Salli directly infringed Plaintiff’s Song by duplicating it,
  20   copying it, creating derivative works, publicly performing it, and otherwise
  21   reproducing and exploiting it without authorization.
  22         132. At all points Defendant Salli had the right and ability to control or stop
  23   the infringing conduct but failed to do so.
  24         133. At all points as a co-owner and co-administrator of the Infringing Song
  25   Defendant Salli knew of the infringement and also materially contributed and caused
  26   the infringement by, including but not limited to, promoting, distributing, and selling
  27   the infringing song “Dancing With a Stranger” and/or permitting its use. This includes
  28   by licensing the song’s use, or allowing the same, on streaming and digital download
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   1   services such as Spotify, YouTube, Pandora, Amazon, iTunes, and others.
   2         134. Defendant has received significant financial benefits as a result of the
   3   infringement.
   4         K.     Downtown Music Publishing LLC (“Downtown”)
   5         135. Defendant owns and/or publishes and/or administers the infringing song
   6   “Dancing With a Stranger,” at least in part.
   7         136.      Defendant Downtown directly infringed Plaintiff’s Song by duplicating
   8   it, copying it, creating derivative works, publicly performing it, and otherwise
   9   reproducing and exploiting it without authorization.
  10         137. At all points Defendant Downtown had the right and ability to control or
  11   stop the infringing conduct but failed to do so.
  12         138. At all points as a co-owner and co-administrator of the Infringing Song
  13   Defendant Downtown knew of the infringement and also materially contributed and
  14   caused the infringement by, including but not limited to, promoting, distributing, and
  15   selling the infringing song “Dancing With a Stranger” and/or permitting its use. This
  16   includes by licensing the song’s use, or allowing the same, on streaming and digital
  17   download services such as Spotify, YouTube, Pandora, Amazon, iTunes, and others.
  18         139. Defendant has received significant financial benefits as a result of the
  19   infringement.
  20         L.     Universal Music Operations Limited (“Universal Music
  21                Operations”)
  22         140. This is the official name of Universal Music UK, which owns the
  23   phonographic copy of the infringing song “Dancing With a Stranger.”
  24         141. Defendant Universal Music Operations owns and/or publishes and/or
  25   administers the infringing song “Dancing With a Stranger,” at least in part.
  26         142.      Defendant Universal Music Operations directly infringed Plaintiff’s
  27   Song by duplicating it, copying it, creating derivative works, publicly performing it,
  28   and otherwise reproducing and exploiting it without authorization.
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   1         143. At all points Defendant Universal Music Operations had the right and
   2   ability to control or stop the infringing conduct but failed to do so.
   3         144. At all points as a co-owner and co-administrator of the Infringing Song
   4   Defendant Universal Music Operations knew of the infringement and also materially
   5   contributed and caused the infringement by, including but not limited to, promoting,
   6   distributing, and selling the infringing song “Dancing With a Stranger” and/or
   7   permitting its use. This includes by licensing the song’s use, or allowing the same, on
   8   streaming and digital download services such as Spotify, YouTube, Pandora, Amazon,
   9   iTunes, and others.
  10         145. As an owner of the infringing copyright Defendant has received
  11   significant financial benefits as a result of the infringement.
  12         M.     Universal Music Group (“Universal Music”)
  13         146. Defendant Universal Music owns and/or publishes and/or administers the
  14   infringing song “Dancing With a Stranger,” at least in part.
  15         147.     Defendant Universal Music directly infringed Plaintiff’s Song by
  16   duplicating it, copying it, creating derivative works, publicly performing it, and
  17   otherwise reproducing and exploiting it without authorization.
  18         148. At all points Defendant Universal Music had the right and ability to
  19   control or stop the infringing conduct but failed to do so.
  20         149. At all points as a co-owner and co-administrator of the Infringing Song
  21   Defendant Universal Music knew of the infringement and also materially contributed
  22   and caused the infringement by, including but not limited to, promoting, distributing,
  23   and selling the infringing song “Dancing With a Stranger” and/or permitting its use.
  24   This includes by licensing the song’s use, or allowing the same, on streaming and
  25   digital download services such as Spotify, YouTube, Pandora, Amazon, iTunes, and
  26   others.
  27         150. Defendant has received significant financial benefits as a result of the
  28   infringement
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   1         N.     Naughty Words Limited (“Naughty Words”)
   2         151. This is Sam Smith’s publishing entity.
   3         152. Defendant Naughty Words owns and/or publishes and/or administers the
   4   infringing song “Dancing With a Stranger,” at least in part.
   5         153.     Defendant Naughty Words directly infringed Plaintiff’s Song by
   6   duplicating it, copying it, creating derivative works, publicly performing it, and
   7   otherwise reproducing and exploiting it without authorization.
   8         154. At all points Defendant Naughty Words had the right and ability to
   9   control or stop the infringing conduct but failed to do so.
  10         155. At all points as a co-owner and co-administrator of the Infringing Song
  11   Defendant Naughty Words knew of the infringement and also materially contributed
  12   and caused the infringement by, including but not limited to, promoting, distributing,
  13   and selling the infringing song “Dancing With a Stranger” and/or permitting its use.
  14   This includes by licensing the song’s use, or allowing the same, on streaming and
  15   digital download services such as Spotify, YouTube, Pandora, Amazon, iTunes, and
  16   others..
  17         156. Defendant has received significant financial benefits as a result of the
  18   infringement
  19         O.     Songs of NKH (“NKH”)
  20         157. This is a publishing entity owned by defendant Normani.
  21         158. Defendant owns and/or publishes and/or administers the infringing song
  22   “Dancing With a Stranger,” at least in part.
  23         159. Defendant NKH directly infringed Plaintiff’s Song by duplicating it,
  24   copying it, creating derivative works, publicly performing it, and otherwise
  25   reproducing and exploiting it without authorization.
  26         160. At all points Defendant NKH had the right and ability to control or stop
  27   the infringing conduct but failed to do so.
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   1         161. At all points as a co-owner and co-administrator of the Infringing Song
   2   Defendant NKH knew of the infringement and also materially contributed and caused
   3   the infringement by, including but not limited to, promoting, distributing, and selling
   4   the infringing song “Dancing With a Stranger” and/or permitting its use. This includes
   5   by licensing the song’s use, or allowing the same, on streaming and digital download
   6   services such as Spotify, YouTube, Pandora, Amazon, iTunes, and others.
   7         162. Defendant has received significant financial benefits as a result of the
   8   infringement.
   9         P.     Stellar Songs Limited (“Stellar Limited”)
  10         163. Upon information and belief this is a publishing entity for Stargate,
  11   Eriken, and Hermansen
  12         164. Defendant Stellar Limited owns and/or publishes and/or administers the
  13   infringing song “Dancing With a Stranger,” at least in part.
  14         165.      Defendant Stellar Limited directly infringed Plaintiff’s Song by
  15   duplicating it, copying it, creating derivative works, publicly performing it, and
  16   otherwise reproducing and exploiting it without authorization.
  17         166. At all points Defendant Stellar Limited had the right and ability to control
  18   or stop the infringing conduct but failed to do so.
  19         167. At all points as a co-owner and co-administrator of the Infringing Song
  20   Defendant Stellar Limited knew of the infringement and also materially contributed
  21   and caused the infringement by, including but not limited to, promoting, distributing,
  22   and selling the infringing song “Dancing With a Stranger” and/or permitting its use.
  23   This includes by licensing the song’s use, or allowing the same, on streaming and
  24   digital download services such as Spotify, YouTube, Pandora, Amazon, iTunes, and
  25   others.
  26         168. Defendant has received significant financial benefits as a result of the
  27   infringement.
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   1         Q.     Stellar Songs (“Stellar”)
   2         169.    Upon information and belief this is a publishing entity for Stargate,
   3   Eriken, and Hermansen
   4         170. Defendant Stellar owns and/or publishes and/or administers “Dancing
   5   With a Stranger,” at least in part.
   6         171.      Defendant Stellar directly infringed Plaintiff’s Song by duplicating it,
   7   copying it, creating derivative works, publicly performing it, and otherwise
   8   reproducing and exploiting it without authorization.
   9         172. At all points Defendant Stellar had the right and ability to control or stop
  10   the infringing conduct but failed to do so.
  11         173. At all points as a co-owner and co-administrator of the Infringing Song
  12   Defendant Stellar knew of the infringement and also materially contributed and
  13   caused the infringement by, including but not limited to, promoting, distributing, and
  14   selling the infringing song “Dancing With a Stranger” and/or permitting its use. This
  15   includes by licensing the song’s use, or allowing the same, on streaming and digital
  16   download services such as Spotify, YouTube, Pandora, Amazon, iTunes, and others.
  17         174. Defendant has received significant financial benefits as a result of the
  18   infringement.
  19         R.     Sony/ATV Music Publishing LLC (“Sony/ATV Music Publishing”)
  20         175.      Defendant owns and/or publishes and/or administers the Infringing
  21   Song “Dancing With a Stranger,” at least in part.
  22         176.      Defendant Sony/ATV Music Publishing directly infringed Plaintiff’s
  23   Song by duplicating it, copying it, creating derivative works, publicly performing it,
  24   and otherwise reproducing and exploiting it without authorization.
  25         177. At all points Defendant Sony/ATV Music Publishing had the right and
  26   ability to control or stop the infringing conduct but failed to do so.
  27         178. At all points as a co-owner and co-administrator of the Infringing Song
  28   Defendant Sony/ATV Music Publishing knew of the infringement and also materially
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   1   contributed and caused the infringement by, including but not limited to, promoting,
   2   distributing, and selling the infringing song “Dancing With a Stranger” and/or
   3   permitting its use. This includes by licensing the song’s use, or allowing the same, on
   4   streaming and digital download services such as Spotify, YouTube, Pandora, Amazon,
   5   iTunes, and others.
   6         179. Defendant has received significant financial benefits as a result of the
   7   infringement
   8         S.     Sony/ATV Music Publishing Ltd. (“Sony/ATV Music Ltd.”)
   9         180.     Defendant owns and/or publishes and/or administers the infringing song
  10   “Dancing With a Stranger,” at least in part.
  11         181.      Defendant Sony/ATV Music Ltd. directly infringed Plaintiff’s Song by
  12   duplicating it, copying it, creating derivative works, publicly performing it, and
  13   otherwise reproducing and exploiting it without authorization.
  14         182. At all points Defendant Sony/ATV Music Ltd. had the right and ability
  15   to control or stop the infringing conduct but failed to do so.
  16         183. At all points as a co-owner and co-administrator of the Infringing Song
  17   Defendant Sony/ATV Music Ltd. knew of the infringement and also materially
  18   contributed and caused the infringement by, including but not limited to, promoting,
  19   distributing, and selling the infringing song “Dancing With a Stranger” and/or
  20   permitting its use. This includes by licensing the song’s use, or allowing the same, on
  21   streaming and digital download services such as Spotify, YouTube, Pandora, Amazon,
  22   iTunes, and others.
  23         184. Defendant has received significant financial benefits as a result of the
  24   infringement.
  25         T.     Sony/ATV Songs LLC (“Sony/ATV Songs”)
  26         185.     Defendant owns and/or publishes and/or administers the Infringing Song
  27   “Dancing With a Stranger,” at least in part.
  28         186.      Defendant Sony/ATV Songs directly infringed Plaintiff’s Song by
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   1   duplicating it, copying it, creating derivative works, publicly performing it, and
   2   otherwise reproducing and exploiting it without authorization.
   3         187. At all points Defendant Sony/ATV Songs had the right and ability to
   4   control or stop the infringing conduct but failed to do so.
   5         188. At all points as a co-owner and co-administrator of the Infringing Song
   6   Defendant Sony/ATV Songs knew of the infringement and also materially contributed
   7   and caused the infringement by, including but not limited to, promoting, distributing,
   8   and selling the infringing song “Dancing With a Stranger” and/or permitting its use.
   9   This includes by licensing the song’s use, or allowing the same, on streaming and
  10   digital download services such as Spotify, YouTube, Pandora, Amazon, iTunes, and
  11   others.
  12         189. Defendant has received significant financial benefits as a result of the
  13   infringement.
  14         U.     Sony Music Group; Sony Corporation of America (the “Sony
  15                Defendants”)
  16         190.    The Sony Defendants own and/or publish and/or administer the
  17   Infringing Song “Dancing With a Stranger,” at least in part.
  18         191.      The Sony Defendants directly infringed Plaintiff’s Song by duplicating
  19   it, copying it, creating derivative works, publicly performing it, and otherwise
  20   reproducing and exploiting it without authorization.
  21         192. At all points the Sony Defendants had the right and ability to control or
  22   stop the infringing conduct but failed to do so.
  23         193. At all points as a co-owner and co-administrator of the Infringing Song
  24   The Sony Defendants knew of the infringement and also materially contributed and
  25   caused the infringement by, including but not limited to, promoting, distributing, and
  26   selling the infringing song “Dancing With a Stranger” and/or permitting its use. This
  27   includes by licensing the song’s use, or allowing the same, on streaming and digital
  28   download services such as Spotify, YouTube, Pandora, Amazon, iTunes, and others.
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   1          194. Defendants have received significant financial benefits as a result of the
   2   infringement.
   3          V.        UMG Recordings, Inc. (“UMG Recordings”)
   4          195. Defendant owns and/or publishes and/or administers the Infringing Song
   5   “Dancing With a Stranger,” at least in part.
   6          196.       Defendant UMG Recordings directly infringed Plaintiff’s Song by
   7   duplicating it, copying it, creating derivative works, publicly performing it, and
   8   otherwise reproducing and exploiting it without authorization.
   9          197. At all points Defendant UMG Recordings had the right and ability to
  10   control or stop the infringing conduct but failed to do so.
  11          198. At all points as a co-owner and co-administrator of the infringing song
  12   Defendant UMG Recordings knew of the infringement and also materially contributed
  13   and caused the infringement by, including but not limited to, promoting, distributing,
  14   and selling the infringing song “Dancing With a Stranger” and/or permitting its use.
  15   This includes by licensing the song’s use, or allowing the same, on streaming and
  16   digital download services such as Spotify, YouTube, Pandora, Amazon, iTunes, and
  17   others.
  18          199. Defendant has received significant financial benefits as a result of the
  19   infringement
  20          W.        Tim & Danny Music LLC (“Tim & Danny”)
  21          200. Defendant Tim and Danny executive produced and is alleged to own
  22   and/or publish and/or administer the infringing song “Dancing With a Stranger,” at
  23   least in part.
  24          201.       Defendant Tim & Danny directly infringed Plaintiff’s Song by
  25   duplicating it, copying it, creating derivative works, publicly performing it, and
  26   otherwise reproducing and exploiting it without authorization.
  27          202. At all points Defendant Tim & Danny had the right and ability to control
  28   or stop the infringing conduct but failed to do so.
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   1         203. At all points as a co-owner and co-administrator of the Infringing Song
   2   Defendant Tim & Danny knew of the infringement and also materially contributed
   3   and caused the infringement by, including but not limited to, promoting, distributing,
   4   and selling the infringing song “Dancing With a Stranger” and/or permitting its use.
   5   This includes by licensing the song’s use, or allowing the same, on streaming and
   6   digital download services such as Spotify, YouTube, Pandora, Amazon, iTunes, and
   7   others.
   8         204. Defendant has received significant financial benefits as a result of the
   9   infringement.
  10         X.     45th & 3rd Music LLC (“45th & 3rd”)
  11         205. Defendant 45th & 3rd produced the infringing song “Dancing With a
  12   Stranger.”
  13         206. Defendant 45th & 3rd owns and/or publishes and/or administers the
  14   infringing song “Dancing With a Stranger,” at least in part.
  15         207.      Defendant 45th & 3rd directly infringed Plaintiff’s Song by duplicating
  16   it, copying it, creating derivative works, publicly performing it, and otherwise
  17   reproducing and exploiting it without authorization.
  18         208. At all points Defendant 45th & 3rd had the right and ability to control or
  19   stop the infringing conduct but failed to do so.
  20         209. At all points as a co-owner and co-administrator of the Infringing Song
  21   Defendant 45th & 3rd knew of the infringement and also materially contributed and
  22   caused the infringement by, including but not limited to, promoting, distributing, and
  23   selling the infringing song “Dancing With a Stranger” and/or permitting its use. This
  24   includes by licensing the song’s use, or allowing the same, on streaming and digital
  25   download services such as Spotify, YouTube, Pandora, Amazon, iTunes, and others.
  26         210. Defendant has received significant financial benefits as a result of the
  27   infringement.
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                                    PLAINTIFF’S COMPLAINT
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   1         211. On information and belief, each and every Defendant was an agent,
   2   partner, representative, affiliate, employee, alter ego, or co-conspirator of each and
   3   every other Defendant, and in doing the things alleged herein, each and every
   4   Defendant was acting pursuant to such conspiracy and/or within the course and scope
   5   of such agency, representation, affiliation, control or employment and was acting with
   6   the consent, permission and authorization of the other Defendants. Moreover, on
   7   information and belief, each Defendant who joined the conspiracy after its formation
   8   ratified, adopted and is liable for all acts committed in furtherance of the conspiracy
   9   including those committed before such Defendant joined the conspiracy.
  10         212. Whenever the Complaint refers to any act or acts of a Defendant, the
  11   reference shall also be deemed to mean that the directors, officers, employees,
  12   affiliates, controlling companies or agents of the responsible Defendants authorized
  13   such act while actively engaged in the management, direction or control of the affairs
  14   of Defendant, and each of them, and/or by persons who are the alter ego of
  15   Defendants, or while acting within the scope of their agency, affiliation, control, or
  16   employment. Whenever the Complaint refers to any act of Defendants, the references
  17   shall be deemed to be the act of each Defendant, jointly and severally.
  18                          JURISDICTION AND VENUE
  19          213. Plaintiff hereby incorporates by reference the preceding paragraphs and
  20   repeats and realleges each of the allegations as if fully set forth here.
  21          214. This action is brought as a copyright infringement case and related
  22   claims; and therefore, subject matter jurisdiction lies within this Court, pursuant to
  23   28 U.S.C. §§ 1331 and 1338.
  24          215. The Central District of California has personal jurisdiction over each and
  25   every Defendant by virtue of (1) their specific contacts with this district, and (2) their
  26   general, systematic, and continuous business and music contacts with this district.
  27          216. Furthermore, the defendants, as elaborated in the above section and
  28   incorporated here by reference, reside in the Central District of California, and/or do
                                             29
                                   PLAINTIFF’S COMPLAINT
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   1   substantial business with those businesses which reside in this district related to the
   2   allegations in this complaint.
   3         217. Venue lies within this Court pursuant to 28 U.S.C. Sections 1391(b)(1) –
   4   (3), 1391(c), 1391(d), and 1400(a) in that one or more defendants reside in this district
   5   or have agents that reside in the district and/or are found in the district.
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                                   PLAINTIFF’S COMPLAINT
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   1                                C A U S E S O F A CT I O N
   2                               FIRST CAUSE OF ACTION
   3                              Direct Copyright Infringement
   4                                  (Against All Defendants)
   5         218. Plaintiff hereby incorporates by reference the preceding paragraphs and
   6   repeats and realleges each of the allegations as if fully set forth here.
   7         219. Plaintiff own all rights in the musical composition and sound recording
   8   “Dancing with a Stranger” also known as “Dancing with Strangers” which is an
   9   original and novel copyrightable composition and sound recording.
  10         220. To be liable for direct copyright infringement a defendant must have had
  11   access to the work allegedly copied, and there must be substantial similarity between
  12   the infringing work and the infringed work.
  13         221. Access can be established by showing with direct or circumstantial
  14   evidence that the work in question was actually copied. Access can also be established
  15   by demonstrating that the two works are strikingly similar.
  16         222. Here, access is proven as alleged above.
  17         223. As noted above, the compositions and sound recordings of the songs are
  18   substantially similar both in the lyrics and musical notes, especially in the hook of the
  19   song. See Attached Report of Dr. Alexander Stewart.
  20         224. The songs’ similarity is especially apparent in the selection and
  21   arrangement of the musical composition and sound recording elements, particularly
  22   the identical lyrics “Dancing With a Stranger” overlaying the nearly identical
  23   melodies, in both songs’ hooks. This selection and arrangement of the musical
  24   elements in Plaintiff’s song was copied in Defendants’ song.
  25         225. Without authorization or permission, Defendants have exploited
  26   Plaintiff’s composition and sound recording, reaping tremendous financial rewards
  27   and other pecuniary benefits to the detriment of Plaintiff’s.
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                                    PLAINTIFF’S COMPLAINT
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   1            226. Defendants violated Plaintiff’s exclusive rights by, including but not
   2   limited to, doing the following:
   3            a.    copying and reproducing Plaintiff’s music composition and sound
   4                  recording copyrights without permission,
   5            b.    preparing derivative works based upon Plaintiff’s music composition and
   6                  sound recording copyrights which are substantially similar to Plaintiff’s
   7                  works,
   8            c.    distributing copies of the copyrighted works to the public,
   9            d.    performing the works publicly.
  10            227. Defendants have also encouraged and otherwise induced third parties to
  11   infringe on Plaintiff’s composition and sound recording copyrights on a widespread
  12   basis.
  13            228. The initial and predicate acts of copying of “Dancing With a Stranger”
  14   occurred in the United States in Los Angeles, CA at The Stellar House studio on or
  15   around August 7, 2018.
  16            229. As a result of Defendants’ conduct, acts, and/or omissions Plaintiff is
  17   entitled to relief, including but not limited to actual damages, direct profits, and
  18   indirect profits. This includes but is not limited to licensing fees, mechanical royalties,
  19   advertising revenue, streaming revenue, and concert revenue—and any other revenue
  20   derived from the exploitation of the infringing son “Dancing With a Stranger.”
  21                              SECOND CAUSE OF ACTION
  22                           Contributory Copyright Infringement
  23                                  (Against All Defendants)
  24            230. Plaintiff hereby incorporates by reference the preceding paragraphs and
  25   repeats and realleges each of the allegations as if fully set forth here.
  26            231. To state a claim for contributory copyright infringement a plaintiff must
  27   show that the defendants induced, caused, materially contributed to, and participated
  28   in the infringement of Plaintiff’s copyrighted song, “Dancing With a Stranger.”
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                                    PLAINTIFF’S COMPLAINT
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   1         232. Defendants had and have knowledge of the ongoing infringing activity
   2   that is the subject of this lawsuit—the use of “Dancing With A Stranger” in “Dancing
   3   With A Stranger”—and have induced and materially contributed to the infringing
   4   conduct of the direct infringers of Plaintiff’s copyrighted song.
   5         233. Without authorization or permission, Defendants continue to exploit
   6   Plaintiff’s Song reaping tremendous financial rewards and other pecuniary benefits,
   7   to the detriment of Plaintiff.
   8         234. As a result of Defendants’ conduct, acts, and/or omissions Plaintiff is
   9   entitled to relief, including but not limited to actual damages, direct profits, and
  10   indirect profits. This includes but is not limited to licensing fees, mechanical royalties,
  11   advertising revenue, streaming revenue, and concert revenue—and any other revenue
  12   derived from the exploitation of the infringing son “Dancing With A Stranger.”
  13                               THIRD CAUSE OF ACTION
  14                            Vicarious Copyright Infringement
  15                                    (Against All Defendants)
  16         235. Plaintiff hereby incorporates by reference the preceding paragraphs and
  17   repeats and realleges each of the allegations as if fully set forth here.
  18         236. To state a claim for vicarious copyright infringement the defendants must
  19   vicariously profit from the direct infringement while declining to exercise a right to
  20   stop or limit the direct infringement.
  21         237. Here, all Defendants profit from the dissemination, sale, distribution, and
  22   licensing of the infringing song “Dancing With A Stranger.”
  23         238. Furthermore, Defendants, as producers, publishers, songwriters, and
  24   copyright holders, all have control over the dissemination, sale, distribution, and
  25   licensing of the infringing song “Dancing With A Stranger.”
  26          239. Without authorization or permission, Defendants continue to exploit
  27   Plaintiff’s song “Dancing With A Stranger” as “Dancing With A Stranger,” reaping
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   1   tremendous financial rewards and other pecuniary benefits, to the detriment of
   2   Plaintiff.
   3          240. As a result of Defendants’ conduct, acts, and/or omissions Plaintiff is
   4   entitled to relief, including but not limited to actual damages, direct profits, and
   5   indirect profits. This includes but is not limited to licensing fees, mechanical
   6   royalties, advertising revenue, streaming revenue, and concert revenue—and any
   7   other revenue derived from the exploitation of the infringing song “Dancing With A
   8   Stranger.”
   9                              CLAIMS FOR RELIEF
  10         Wherefore, Plaintiff demands judgment in their favor on all Counts and against
  11   all Defendants for an amount well in excess of the jurisdictional amount required to
  12   guarantee a jury trial. Plaintiff requests that this Court determine and declare that
  13   Plaintiff is additionally awarded and afforded on all Counts from Defendants, jointly
  14   and severally:
  15         (a)    Compensatory damages, together with interest, costs, and delay
  16                damages;
  17         (b)    Actual damages, direct profits, and/or indirect profits
  18                      a.     Including but not limited to licensing fees, mechanical
  19                             royalties, advertising revenue, streaming revenue, concert
  20                             revenue.
  21         (c)    Statutory damages of $150,000 per infringement pursuant to 17 U.S.
  22                Code § 504 given the willfulness of Defendants’ conduct;
  23         (d)    Declarations of authorship and ownership;
  24         (e)    Accounting and constructive trust;
  25         (f)    Equitable relief pursuant to 17 U.S. Code § 502 and § 503;
  26         (g)    Punitive and exemplary damages;
  27         (h)    Injunctive and other equitable relief inclusive of but not limited to
  28                impoundment, destruction, and halting of sales of the infringing material.
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   1        (i)   Costs and attorney’s fees; and
   2        (j)   Such other and further relief as the Court deems just, necessary, and
   3              appropriate under the circumstances or allowed by statute.
   4
   5                                          Respectfully submitted,
   6                                          Lowe & Associates
   7
   8
                                              ______________________________
   9                                          Steven T. Lowe, Esq.
                                              8383 Wilshire Boulevard, Suite 1038
  10
                                              Beverly Hills, CA 90211
  11                                          E: steven@lowelaw.com
  12
                                              Francis Alexander, LLC
  13                                          Alfred J. Fluehr, Esquire
  14                                          Attorney ID No.: 316503
                                              280 N. Providence Road | Suite 1
  15                                          Media, PA 19063
  16                                          T: (215) 341-1063
                                              T: (215) 500-1000
  17                                          E: aj@francisalexander.com
  18                                          Law Firm / Lawyer for Plaintiff
                                              Moving for Admission Pro Hac Vice
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  20                                          /d/ March 4, 2022
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   1                         D E MA N D F O R J U R Y T R I A L
   2        Plaintiff hereby demands a trial by jury on all claims and issues so triable.
   3
   4                                            Respectfully submitted,
   5                                            Lowe & Associates
   6
   7
                                                ______________________________
   8                                            Steven T. Lowe, Esq.
                                                8383 Wilshire Boulevard, Suite 1038
   9
                                                Beverly Hills, CA 90211
  10                                            E: steven@lowelaw.com
  11
                                                Francis Alexander, LLC
  12                                            Alfred J. Fluehr, Esquire
  13                                            Attorney ID No.: 316503
                                                280 N. Providence Road | Suite 1
  14                                            Media, PA 19063
  15                                            T: (215) 341-1063
                                                T: (215) 500-1000
  16                                            E: aj@francisalexander.com
  17                                            Law Firm / Lawyer for Plaintiff
                                                Moving for Admission Pro Hac Vice
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   1                                 SPOLIATION CLAUSE
   2         Plaintiff demands that Defendants take necessary actions to ensure the
   3   preservation of all documents and things related to the case—in any format—
   4   hardcopy, electronic, audio, and visual, inclusive of but not limited to: the Master
   5   recording of the allegedly infringing song “Dancing with a Stranger”, prior recordings
   6   of “Dancing with a Stranger,” the individual audio tracks (both from prior recordings
   7   and initial/early takes), and any and all session audio, tracks, and takes (whether or
   8   not used in the final Master). Defendants should also preserve all ProTools files
   9   related to “Dancing with a Stranger.” All material Defendants have related to
  10   Plaintiff’s song “Dancing with a Stranger” should also be preserved. Defendants
  11   should also preserve any and all video, takes, scripting, notes, cards, or anything else
  12   relating to the “Dancing with a Stranger” music video. Defendants should also
  13   preserve anything related to Plaintiff’s “Dancing with a Stranger” music video.
  14         Defendants are also put on notice to preserve all things including but not limited
  15   to information, materials, communications, or other content/data related to the
  16   averments in this case.
  17                                            ****
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                                   PLAINTIFF’S COMPLAINT
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                   EXHIBIT 1
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                   EXHIBIT 2
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                                  Alexander Stewart, Ph.D. LLC
                                  Preliminary Musicology Report
                                         January 3, 2022




 Re: “Dancing with a Stranger” and “Dancing with Strangers”




 1.     Background

 I am Professor of Music, the founder and coordinator of the Jazz Studies Program, and former
 Director of Latin American and Caribbean Studies at the University of Vermont. I collaborated
 in the design and implementation of our successful Music Technology and Business Program. I
 have contributed to numerous peer-reviewed journals and other publications, and I am author of
 a book, Making the Scene: Contemporary New York City Big Band Jazz, published by University
 of California Press (2007). My article on drumming and rhythms, “Funky Drummer,” first
 published in the British journal Popular Music in 2000, has been reprinted in several anthologies
 and has been widely cited. My scholarly work encompasses extensive music transcriptions,
 musicological analysis, historical research, and other activities, particularly in popular music. I
 earned a Ph.D. in Music (Ethnomusicology Concentration) from the Graduate Center of the City
 University of New York (CUNY) and a Master of Music in Jazz and Commercial Music from
 Manhattan School of Music. During 2006-7 I was a Fulbright scholar researching traditional and
 popular music in Mexico. As an active professional musician for more than forty years I have
 performed and recorded with leading musicians in jazz and popular music such as Lionel
 Hampton, Wynton Marsalis, and Ray Charles. I have provided expert opinions and analysis and
 lectured widely on music copyright matters for nearly twenty years. A C.V. attached to this
 report lists my professional activities in more detail.


 2.     Assignment

 I have been asked to examine, compare and research two songs: “Dancing with a Stranger” by
 Sam Smith ((henceforth “SS”) and “Dancing with a Stranger” (aka “Dancing with Strangers”) by
 Jordan Vincent (henceforth “JV”).1 I was provided media and links to the recordings by Francis


 1 My understanding is that Jordan Vincent’s original title was “Dancing with a Stranger” and

 that, after the release of the Smith song, he altered the title in order to distinguish his work from
 the later song.
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 Malofiy, Esq. The media included two versions of JV (the deposit copy audio and a YouTube
 video – henceforth “JVvid”). These two versions are the same composition – they differ only in
 certain structural elements discussed below. While this report provides analysis of both versions,
 its primary focus is the deposit copy version and, unless otherwise noted, all references are to
 this version. Additionally, I downloaded the sheet music to SS from Musicnotes.com. I was also
 asked to perform a preliminary search for other songs containing similar expression (“prior art”).
 Finally, I was charged with providing a preliminary assessment of the importance of any similar
 expression to each composition.


 3.     Methodology

 I begin with close listening to each song in its entirety. I take note of the general characteristics
 of each composition. I then transcribe (put into music notation) similar passages and compare
 this expression. While primary emphasis is on melodic content, other expression and details
 (lyrics, underlying harmony, accompaniment patterns, etc.) are also taken into consideration. If
 important similarities are found, I then conduct a prior art search to look for any other songs
 containing similar expression. I then assess the quantitative importance as well as the qualitative
 significance of this expression to each song.


 4.     Summary of Findings

 My investigation and analysis have found that the compositions SS and JV are substantially
 similar in the lyrics, melodic content (including rhythmic and metric placement), and structural
 setting and supportive harmonies of their main themes and choruses. The creative selection and
 arrangement of the melody, lyrics and other elements in JV as discussed below are distinctive
 and original and this expression forms the musical core of SS. A prior art search turned up no
 compositions with anywhere near the degree of similarity as contained in these songs.


 5.     Analysis

 a) General
 Although SS is slightly slower than JV, both songs are very similar in style and production.
 Other than the acoustic piano sound during the intro and percussion interlude of of JVvid, both
 works rely heavily on synthesized instrumental sounds common in contemporary popular dance
 music. Harmonically, SS and JV are built on four-chord cycles of major and minor chords
 resulting in some ambiguity2 as to key center (particularly in SS). As discussed further below,


 2 Tonal ambiguity has become fairly common in contemporary popular music, especially in

 songs based on repeating four-chord cycles such as heard in these songs. Current scholarship in
 music theory has taken note of this trend as evidenced in articles and books by Christopher Doll
 (2017 Hearing Harmony: Toward a Tonal Theory for the Rock Era. University of Michigan
 Press); Asaf Peres, (2016 “(Dys)Functional Harmony: How Sound Production in Twenty-First-
 Century Pop Music Liberates Harmony from Its Functional Role,” paper presented at the annual
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                                                                                                    3

 these four-chord cycles repeat throughout much of each song. Overall, I hear the third minor
 chord as the “tonic” or key center in SS. My reasons are provided below in the discussion of the
 chord progressions.

                Key                           Tempo
 SS             F minor (Aeolian)             109 bpm
 JV             G minor (Aeolian)             120 bpm

 The Aeolian mode or natural minor is a minor scale with a flattened sixth. On the piano
 keyboard an example would be the seven white keys beginning with A.

 b) Harmony3
 Basic chord sequences
 SS (transposed)      Eb            F   G-    Bb
 JV                   G-       D-       Eb    F

 SS                    Eb           D- G-     Bb
 JV                    G-      D-      Eb     F

 As will be seen in example 2 below, a simple rotation of the chords yields an almost identical
 cycle over eight bars.

 SS (transposed)       Eb           F   G-    Bb      Eb        D- G-        Bb
 JV                    Eb      F        G-    D-      Eb      F    G-        D-

 It should be noted that the only different chords here are closely related: D- and F and D- and Bb
 share two of the three pitches that make up their triads. The progression D- to G- (v-i) in SS
 reinforces the sense of a G minor tonality. Moreover, the bVI-bVII-i (Eb F G-) with the
 borrowed IV V chords from the relative major (Bb) is a common cadence in rock and popular
 music. Finally, the melodic movement to the pitch G, especially in the opening phrases
 establishes a strong sense of G minor at the beginning of the song.

 c) Basic Structure and occurrences of choruses

 The basic structure of each song is similar. Each begins with several iterations of the chord cycle
 before the drums and rhythm section kicks in. Each contains three choruses although in the video
 the second and third choruses of JV are separated by a brief percussion interlude.


 meeting of the Society for Music Theory, Vancouver, BC); Mark Spicer (2017 “Fragile,
 Emergent, and Absent Tonics in Pop and Rock Songs.” Music Theory Online [MTO] 23 (2)); and
 Mark Richards (2017 “Tonal Ambiguity in Popular Music’s Axis Progressions” [MTO] 23 (3)).
 Music Theory Online is described as “one of the flagship journals of the Society for Music
 Theory. It is a peer-reviewed open-access electronic journal of research and scholarship in music
 theory, music analysis, and related disciplines.” https://www.mtosmt.org/index.php
 3 In this and all subsequent analysis, examples have been transposed to the same key signature as

 explained in 5d.
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                                                                                                     4




 SS
 0:00   intro (out of time)
 0:23   intro (time and vocalizations)
 0:30   verse
 1:09   chorus
 1:35   verse
 1:55   chorus
 2:32   chorus (variation)

 JV
 0:00   intro (vocalizations)
 0:30   verse
 1:03   chorus
 1:34   verse
 2:05   chorus
 2:39   intro/interlude
 3:56   chorus

 JVvid
 0:00 intro (piano, out of time)
 0:21 intro (time and vocalizations)
 0:51 verse
 1:23 chorus
 1:56 verse
 2:26 chorus
 [3:00 interlude – video only]
 3:40 chorus

 d) Melodies, signature themes, and structure
 Following standard musicological procedure when comparing two or more works, I have
 transcribed or put into music notation the relevant passages. In order to facilitate this comparison
 I have transposed JV up a whole step in order to place each song in the same key signature.
 Interestingly, this same alteration occurs when JV is slowed to the same tempo as SS (without
 using software to maintain a constant pitch level) – the melodic and harmonic content converge
 as in my transcriptions below. In the melodies at issue in this case, the lyrics reference the titles
 of the songs and they can be considered the title or signature themes in each song. They clearly
 form the “hooks”4 in the choruses of each composition. As can be seen below, these phrases
 appear thirteen times in SS and twelve times in JV.
 Occurrences of signature phrase:



 4 In popular music, a “hook” is the most catchy and memorable part of a song. In the music

 industry, it is widely believed that, in order to be successful, a song must have at least one
 “hook.”
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                                                                                                   5


  SS                 JV                JVvid
  1:15               1:04              1:26
  1:25               1:12              1:34
  1:30               1:20              1:41
  2:02               1:28              1:49
  2:12               2:07              2:29
  2:16               2:15              2:37
  2:21               2:23              2:44
  2:26 (partial)     2:30              2:52
  2:39               3:27              3:43
  2:49               3:35              3:51
  2:59               3:43              3:59
  3:04               3:51              4:07
  3:09               3:59
                     4:07
                     4:15
                     4:23

 As discussed in greater detail below, the phrase “dancing with a stranger” is heard four times in
 each chorus except for the first chorus of SS (where it is heard 3 times) and in the second (where
 there is a partial fifth iteration) and third chorus of SS and the last chorus, where the signature
 phrase is repeated to end the song. The phrase is heard four times during the interlude of JV (but
 not during the JVvid percussion interlude).

 e) Melodic analysis
 As can be seen in Example 1, these passages are nearly identical in melodic contour, rhythm, and
 metric placement and the pitch sequences are very similar.5

 Example 1         signature phrases




 5 The most authoritative reference work on music in the English language, the New Grove,

 defines melody as “pitched sounds in musical time” and the Oxford Companion to Music
 describes it as the “interaction of rhythm and pitch.” The Harvard and Oxford dictionaries of
 music further explain that, along with pitch, duration (rhythm) is an essential element in the
 formation and recognition of melodies.
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                                                                                                      6

 While the pitch sequences are not identical, the identity of these passages is also defined by their
 identical lyrics, rhythmic durations, metric placement and structural significance. Both phrases
 begin with an anticipation of beat one with the syllable “dan-” and descend by regular eighth
 notes to the syllable “stran-” which is held for a full beat before resolving on a chord tone on the
 final syllable (“-ger”). One slight difference is that this resolution occurs a half beat later in JV.


 f) Structural importance in chorus
 Example 2 provides transcriptions of the choruses of both songs. The signature phrases and
 common chord changes are depicted in red. As can be seen, both choruses are based on a four-
 chord cycle. In both choruses the signature phrase appears four times in each within each four
 bars chorus (except for the first chorus of SS where it appears three times).


 Example 2. Signature phrases in the choruses
 Smith 1:55
 JV    0:58
 JVvid 1:20
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                                                                                                    7



 6.      Prior Art
 A search for other songs containing the words “dancing with a stranger” unearthed only a dozen
 songs that predate the songs at issue in this case. Most are obscure and written in entirely
 different styles and genres. In none of these songs is the phrase even remotely similar in melodic
 contour, pitch content and rhythm as these phrases in SS and JV are to each other. In many, the
 phrase occurs in isolation. The lyric figures importantly as a repeated structural motive (motif) in
 only three. As can be seen in example 3, in each of these three earlier songs the phrases are
 completely different from the phrases at issue in this case.


 Example 3. Prior art




 7.       Quantitative Analysis
 The signature phrase of the choruses provides the main theme of the choruses and appears
 thirteen times in SS, sixteen times in JV and twelve times in JVvid. In SS the choruses comprise
 a total of 1:45 of the 3:15 song (105 of 195 seconds) or 54%. In JV the phrase at issue provides
 the main theme of the choruses which, along with the four iterations in the interlude, account for
 2:15 or approximately 56% of the four-minute song. In the video version of JV the choruses
 comprise 1:43 or approximately 40% of the total length of the song (4:16). The proportion of the
 song in which the choruses and other iterations appear in the deposit copy of JV (without the 40
 second percussion interlude) is nearly the same as in SS. While the choruses are constructed
 around the signature phrases, these phrases are not present throughout the entire choruses, so the
 quantitative percentages could arguably be somewhat lower. The words “dancing with a
 stranger” also comprise a significant proportion of the lyrics in both songs (see Attachment 1).
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 Since these lyrics occupy the same musical space as the melodic themes, the percentages of the
 lyrical similarities can be considered equal to those found in the melodic analysis.


 8.     Qualitative Analysis

 Calculating the amount of time that musical expression is present in a composition is at best a
 crude measurement of the value of that expression to the overall song. Qualitative analysis
 measures the importance of this musical expression to the larger work. In forensic musicology
 the quantitative value is adjusted upward or downward according to its overall significance to the
 composition. Qualitatively, these themes are the most important expression in each composition.
 The lyrics reference the titles of both songs. In the popular music industry, it is an article of faith
 that, to become successful, a song must have at least one “hook” or memorable passage. As the
 title or signature phrases of each song, these distinctive phrases must be considered the “hooks”
 or most valuable parts of the song. In both songs the phrases are the last music the listener hears.
 In this case, because this expression is the most important in each song, the quantitative value
 must be adjusted upward significantly. In fact, it is difficult to imagine either song existing
 without these signature phrases.


 9.     Conclusions

 The musical expression at issue in this case is substantially similar and is significant both
 quantitatively and qualitatively to each song. These signature phrases are distinctive and a prior
 art search has uncovered no other songs as similar to these songs as they are to each other. None
 of the earlier works exhibit the creative selection and arrangement of elements as originally
 heard in JV and later appearing in SS. Indeed, none of this prior art is even remotely similar to
 these two songs. As discussed above, the phrases occur repeatedly in both JV and SS in
 important places and contain the lyrics referencing the titles. Clearly, they form the most
 valuable expression in these compositions. Given the degree of similarity in these distinctive
 passages and other details, I consider it extremely unlikely that SS was created independently
 from JV.

 As a preliminary inquiry, this report is not intended to be exhaustive, and I retain the right to
 amend or supplement it should further information become available.

 Respectfully submitted,



 Alexander Stewart, Ph.D. LLC

 Attachments
 1)    Lyric comparison
 2)    Alexander Stewart, Ph.D. Curriculum Vitae
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                                         Attachment 1 Lyrics

 Dancing with a Stranger                             Dancing with a Stranger
 Jordan Vincent                                      Sam Smith

 Verse I                                             Verse I
 That girl was on fire from the get go               I don’t want to be alone tonight
 Never had to let go                                 It’s pretty clear that I’m not over you
 She said time passes so slow                        I’m still thinking ‘bout the things you do
 Everything in slow mo                               So I don’t want to be alone tonight
 Over and over again                                 Can you light the fire
 Over and over                                       I need somebody who can take control
 Over and over                                       I know exactly what I need to do
 Over and over                                       ‘Cause I don’t want to be alone tonight,
                                                     alone tonight, alone tonight
 Chorus
 She said I’m gonna die                              Chorus
 Dancing with a stranger                             Look what you made me do
 She said I’m gonna die                              I’m with somebody new
 Dancing with a stranger                             Ooh, baby, baby I’m dancing with a stranger
 She said I’m gonna die                              Look what you made me do
 Dancing with a stranger                             I’m with somebody new
 She said I’m gonna die                              Ooh, baby, baby I’m dancing with a stranger
 Dancing with a stranger                             Dancing with a stranger

 Verse II                                            Verse II
 Just one more time before I go home                 I wasn’t even going out tonight
 Baby move me go go                                  But boy I need to get you off my mind
 It’s a feeling that’s how I know                    I know exactly what I have to do
 Someday I’m gonna fly baby, Ooh                     I don’t want to be alone tonight, alone
                                                     tonight, alone tonight
 Chorus
 She said I’m gonna die                              Chorus
 Dancing with a stranger                             Look what you made me do
 She said I’m gonna die                              I’m with somebody new
 Dancing with a stranger                             Ooh, baby, baby I’m
 She said I’m gonna die                              Dancing with a stranger
 Dancing with a stranger                             Look what you made me do
 She said I’m gonna die                              I’m with somebody new
 Dancing with a stranger                             Ooh, baby, baby I’m
                                                     Dancing with a stranger
 Interlude
 Dancing with a stranger                             Dancing with a stranger
 Dancing with a stranger                             Dancing with a stranger
 Dancing with a stranger                             Dancing, yeah, ooh
 Dancing with a stranger
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                             Attachment 1 Lyrics

                                         Chorus
 Chorus                                  Look what you made me do
 She said I’m gonna die                  I’m with somebody new
 Dancing with a stranger                 Ooh, baby, baby I’m
 She said I’m gonna die                  Dancing with a stranger
 Dancing with a stranger                 Look what you made me do
 She said I’m gonna die                  I’m with somebody new
 Dancing with a stranger                 Ooh, baby, baby I’m
 She said I’m gonna die                  Dancing with a stranger
 Dancing with a stranger                 Dancing with a stranger
                                         Dancing with a stranger
Case 2:22-cv-01508-WLH-AS Document 1 Filed 03/04/22 Page 53 of 80 Page ID #:53



                                 Alexander Stewart
 Department of Music                                             E-mail: astewart@uvm.edu
 University of Vermont                                              Office: (802) 656-7766
 Burlington, VT 05405                                              Mobile: (802) 310-2009



 EDUCATION

 GRADUATE CENTER: THE CITY UNIVERSITY OF NEW YORK
   Ph.D. in Music (Ethnomusicology Concentration), 2000
   Dissertation: Composition and Performance in Contemporary New York City Big Bands
   (1989-1999) Advisor: Stephen Blum

 MANHATTAN SCHOOL OF MUSIC
   Master of Music, Jazz and Commercial, 1991

 LONG ISLAND UNIVERSITY, C.W. POST
    B.F.A., summa cum laude, in Music Education, 1988


 TEACHING EXPERIENCE

 UNIVERSITY OF VERMONT
    Professor, 2012-present
    Associate Professor, 2005-2012
    Assistant Professor, 1999-2005
    Jazz Studies Coordinator, 2003-present
    Director, Integrated Fine Arts Program, 2008-2012
    Director, Latin American Studies Program, Spring 2006; 2011-16

 LONG ISLAND UNIVERSITY, C.W. POST
    Instructor in Music, 1988-1999
    Director of Jazz Studies

 Additional courses at:
    The New School (Jazz and American Culture), 1995-1997
    John Jay College of CUNY (History of Jazz and Rock), 1995


 COURSES TAUGHT

 Jazz History
 Jazz Improvisation I & II
 World Music Cultures
 Seminar in Ethnomusicology
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                                                                                Alex Stewart

 Music Business & Copyright
 Music Theory
 Musical Avant-Gardes
 Music of Cuba, Puerto Rico, and the Dominican Republic
 Duke Ellington
 Jazz Ensembles (Big Band and Combos)
 Seminar in World Music (Honors College)
 Music of Latin America and the Caribbean
 Latin Jazz Summer Immersion
 Culture and Politics of Latin American Protest Music (team taught with professors from Political
     Science, Romance Languages, and Global Studies)

 PUBLICATIONS

 Books

 Making the Scene: Contemporary New York City Big Band Jazz, Berkeley: University of
 California Press, 2007.

 Spanish translation from the French and German: Hans Bodenmann, El ABC de la Flauta Dulce.
 Zurich: Anton Peterer Music & Books, 2003 (Recorder method book).

 Forthcoming

 “Music, Media, and Anarchism in the ‘Oaxaca Commune,’” In Oxford Handbook of Protest
 Music, edited by Noriko Manabe and Eric Drott, New York: Oxford University Press [2021].

 Articles, Book Chapters, Reviews, Entries

 “Been Caught Stealing”: A Musicologist’s Perspective on Unlicensed Sampling Disputes”
 University of Missouri Kansas City Law Review 83(2): 340-61 (Winter 2014).

 “Make It Funky: Fela Kuti, James Brown and the Invention of Afrobeat.” American Studies
 52(4) (2013): 99-118.

 “La chilena mexicana es peruana: Multiculturalism, Regionalism, and Transnational Musical
 Currents in the Hispanic Pacific.” Latin American Music Review/Revista de Música
 Latinoamericana 34(1) (Spring 2013) Austin: University of Texas Press.

 “‘Funky Drummer’: New Orleans, James Brown and the Rhythmic Transformation of American
 Popular Music.” Reprinted in Roots Music, edited by Mark F. DeWitt. London: Ashgate, 2011
 (originally published in Popular Music 19(3) October 2000 Cambridge University Press).

 Review of Ben Ratliff, Coltrane: The Story of a Sound. Jazz Perspectives 2(1):103-109 (2008).

 “Contemporary New York City Big Bands: Composition, Arranging, and Individuality in
 Orchestral Jazz,” Ethnomusicology 48(2) (Spring/Summer 2004): 169-202.

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                                                                                Alex Stewart


 Review of The New Grove Dictionary of Jazz in Ethnomusicology 47(3) (Fall 2003):376-80.

 “Second Line,” Encyclopedia of Popular Music of the World. London: Cassell 2003.

 Essay review of Lewis Porter, John Coltrane: His Life and Music. Annual Review of Jazz Studies
 11, 2000-1 [2002]: 237-52.

 “‘Funky Drummer’: New Orleans, James Brown and the Rhythmic Transformation of American
 Popular Music,” Popular Music 19(3) (Winter 2000): 293-318.

 Review of Scott DeVeaux, The Birth of Bebop. Yearbook of Traditional Music 30 (1998): 135-7.

 LECTURES, COLLOQUIA, CONFERENCE PAPERS

 "Blurred Lines IV: Legal Considerations When Writing." Canadian Film Centre Slaight Music
 Residency Panel Talk. Toronto, Canada. May 27, 2021

 “Melody, ‘Beats,’ and Minimalism: Copyright in Contemporary Popular Music.” Substantial
 Similarity and the Role of Forensic Musicology in Music Copyright Litigation. American
 Musicological Society/Society for Music Theory Annual Meeting, Virtual Conference,
 Minneapolis, MN. November 15, 2020.

 Silicon Flatirons Conference: The Future of Copyright Infringement Analysis in Music. Invited
 panelist and Speaker. March 5, 2020, Colorado Law, University of Colorado, Boulder, CO.

 Composition, Jazz Improvisation, and Copyright,” Jazz Educators Network (JEN) annual
 conference, New Orleans, January 8, 2020

 "Blurred Lines III: Legal Considerations When Writing." Canadian Film Centre Slaight Music
 Residency Panel Talk. Toronto, Canada. August 7, 2019

 "Blurred Lines II: Legal Considerations When Writing." Canadian Film Centre Slaight Music
 Residency Panel Talk. Toronto, Canada. August 13, 2018

 “The Future of Sampling: Transformative Art or Copyright Infringement?” Alexander von
 Humboldt Institute for Internet and Society, Berlin, Germany. February 28, 2018.

 "Blurred Lines: Legal Considerations When Writing." Canadian Film Centre Slaight Music
 Residency Panel Talk. Toronto, Canada. August 2, 2017

 “Creativity and Copyright,” Champlain College, November 11, 2015

 Invited Keynote Speaker: Symposium on Hip Hop, Technology, and Copyright. Utah State
 University. (March 28, 2015).

 “Make It Funky: Fela Kuti, James Brown and the Invention of Afrobeat.” Annual Conference of
 the American Studies Association. Washington DC, November 23, 2013.

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                                                                                Alex Stewart


 “Creativity and Copyright,” Champlain College, October 25, 2013

 “Lila Downs: Music, Culture, and Politics in Oaxaca, Mexico.” Pre-Concert Lecture. Flynn
 Center for the Performing Arts. Burlington, VT. April 26, 2013.

 “Music, Media, and Anarchism in the Oaxaca Commune” Paper presented at Music and War
 Panel. AMS/SEM/SMT Annual Conference. New Orleans. Nov. 2, 2012.

 “Pasos cromáticos en la improvisación del jazz (Chromatic Passing Tones in Jazz
 Improvisation).” Lecture/workshop (in Spanish) at Instituto Projazz, Santiago, Chile. May 31,
 2012.

 “Musicology CSI: Sampling, Interpolation, and Copyright.” Thursdays at One
 Performance/Lecture Series, UVM Music Department.

 “Music, Media, and Anarchism in the ‘Oaxaca Commune,’” Presentation to University of
 Vermont Global Village, 15 February 2011.

 “Son de las barricadas: Protest song and revolution on Oaxaca’s Radio APPO.” Paper read at the
 annual conference of Society for Ethnomusicology (SEM) in Los Angeles, CA, Nov. 2010.

 “Son mexicano” OLLI (Osher Life Long Learning Institute). Pre-Concert Lecture Sones de
 México, Lane Series 8 October 2010.

 “Música popular and the Ideology of mestizaje in Postrevolutionary Mexico.” 1 October 2010,
 UVM Hispanic Forum.

 Musicology CSI: Sampling, Interpolation, and Copyright.” Invited lecture, State University of
 New York (SUNY) Albany, 28 April 2010.

 “La Chilena Mexicana: Transnational Musical Currents in the Hispanic Pacific” Global and
 Regional Studies Lecture, 17 March 2010 Billings Marsh Lounge.

 “Copyrights and Copywrongs: Introduction to Forensic Musicology” Invited lecture, State
 University of New York (SUNY) Plattsburgh, 11 March 2010.

 FLYNNsights: Lecture on Charles Mingus opening the residency of the Mingus Repertory
 Ensembles (Mingus Dynasty, Mingus Orchestra, and Mingus Big Band along with dance troupe
 choreographed by Danny Buraczeski at the Flynn Center for the Performing Arts. 17 October
 2010.

 “Supergenre, genre, subgenre: Mexican son and the chilena complex.” Paper presented at the
 annual conference of the Society for Ethnomusicology (SEM) in Mexico City, November 2009.

 “Socialismo con pachanga: Music in Revolutionary Cuba.” Hispanic Forum, University of
 Vermont, 22 October 2009.


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                                                                                Alex Stewart

 “Performing Race: Afro-Mexicans and Multiculturalism in Oaxaca’s Guelaguetza.” Paper
 presented at the Latin American Studies Association (LASA) XXVIII International Congress,
 “Rethinking Inequalities” Rio de Janeiro, Brazil, 12 June 2009.

 La chilena oaxaqueña: “El gusto de mi region.” Paper presented at the annual conference of the
 Sonneck Society for American Music (SAM), Denver, CO, 19-22 March 2009.

 Insights FlynnArts. Pre-concert lecture on Maria Schneider and her Orchestra. 22 January 2009.
 Amy E. Tarrant Gallery at the Flynn Center for the Performing Arts.

 “Performing Race: Afro-Mexicans and Multiculturalism in Oaxaca’s Guelaguetza Festival.”
 Paper presented at the annual meeting of the Society for Ethnomusicology (SEM), Wesleyan
 University, Middletown, CT, 28 October 2008.

 “La Danza de las Diablas”? Race, Gender, and Local Identity in Afro-mestizo communities of
 Mexico’s Costa Chica. Paper presented at the annual meeting of the Society for
 Ethnomusicology (SEM), Columbus, OH, 28 October 2007.

 “Son de las Barricadas”: Songs of Protest from the Spanish Civil War to the Present on
 Oaxaca’s Radio APPO.” Hispanic Forum, University of Vermont, 10 October 2007.

 “Cross-Cultural Learning through Music and Dance: A UVM Class in Guantánamo, Cuba.”
 Presentation to the UVM College of Arts and Sciences Advisory Board, April 2004.

 “Beauty and the Beast: Maria Schneider’s Wyrgly.” Paper presented at special session of the
 joint meetings of Society for Music Theory (SMT) and the American Musicological Society
 (AMS), “Women in Jazz: Voices and Roles,” Columbus, OH, 1 November 2002.

 “On the Edge: Sue Mingus and the Mingus Big Band.” Colloquium at the University of Illinois
 (Urbana and Champaign), 6 March 2002.

 “Blood on the Fields: Wynton Marsalis and the Transformation of the Lincoln Center Jazz
 Orchestra.” Paper read at the 2001 annual meeting of the Society for Ethnomusicology (SEM),
 Detroit, October 2001.

 “The Jazz Concerto as Collaborative Work: Jim McNeely’s ‘Sticks.’” Paper read at the joint
 meeting of the Society for Music Theory (SMT) and other major music societies in Toronto, 4
 November 2000.

 “New York City Big Bands and the Professional Jazz Musician.” Paper read at the annual
 meeting of the Society for Ethnomusicology (SEM) in Bloomington, IN, 24 October 1998.

 “From Mardi Gras to Funk: Professor Longhair, James Brown and the Transformation of
 Rhythm and Blues.” Paper read at joint meeting of the Society for Ethnomusicology (SEM) and
 the International Association for the Study of Popular Music (IASPM) in Pittsburgh, PA,
 October 1997.



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                                                                                  Alex Stewart

 GRANTS AND AWARDS
 Coor Collaborative Fellowship, Rethinking African Art. 2020-2021.

 UVM Humanities Center Public Humanities Fellowship for sabbatical travel to Uganda. 2019.

 International Travel Funds Award. College of Arts and Sciences. Travel to and residency in
 Uganda. Jazz Performance and Workshops; Research in Traditional Music. October and
 November 2019.

 Interdisciplinary Experiential Engagement Award for course proposal, Culture and Politics of
 Latin American Protest Music, to be taught in collaboration with Political Science, Romance
 Languages, Global Studies, and Music Departments. January 2013.

 Lattie F. Coor Award for International Travel to present paper and chair panel at the Society for
 Ethnomusicology conference (SEM) Mexico City. November 2009.

 Joan Smith Faculty Research Support Award Performing Race: Afro-Mexicans,
 Multiculturalism, and the “Black Pacific.”

 Lattie F. Coor Award for International Travel to present paper at the Latin American Studies
 Association (LASA) Congress in Rio de Janeiro, Brazil. June 2009.

 Fulbright Research Fellowship to Mexico, Afro-Mexican music, 2006-7.

 Award for Contribution to Vermont Jazz Education, presented by Wynton Marsalis and the
 Flynn Center for the Performing Arts, October 2005.

 UVM Arts and Sciences Dean’s Fund for Faculty Development (to initiate fieldwork in the Costa
 Chica of Mexico), Fall 2005.

 UVM Humanities Center Research Grant, Spring 2004.

 UVM Global Outreach Committee Grant, March 2003.

 UVM Arts and Sciences Faculty Development Grant for study in Cuba, May 2002.

 2001 Barry S. Brook Award for best dissertation in music CUNY.

 CUNY Dissertation Year Fellowship 1998-1999.



 MUSIC COPYRIGHT & RELATED

 Expert Report in Bridgeport Music, Inc. v. Dimension Films, 410 F.3d 792 (6th Cir. 2005). Case
 recognized as setting new “bright line” standard for use of samples of copyrighted recordings.



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                                                                                 Alex Stewart

 Testimony in trial in Federal District Court, Nashville TN, Case No. 3:01-780, Bridgeport Music
 v. Universal Music. February 2007. “Atomic Dog” and “D.O.G. in Me.” Affirmed by US Sixth
 Circuit Court of Appeals, No. 07-5596, November 4 2009. Case examined issues concerning
 fragmented literal similarity, originality, and fair use.

 Testimony in Federal District Court, Nashville, TN Case No. 3:01-0155 involving rap artist, the
 Notorious B.I.G and the Ohio Players. (March 2006). Affirmed by US Sixth Circuit Court of
 Appeals, No. 06-6294, October 17 2007.

 Testimony by Deposition (for the Plaintiff), Case No. 1:09-cv-21597-DLG (Florida Southern
 District Court) Kernel Records Oy v. Timothy Z. Mosley p/k/a Timbaland, UMG Recordings,
 Inc, et al. New York City, May 27, 2010.

 Testimony by Deposition (for the Defense), Case No. 37-2008-00098508-CU-BT CTL
 (California Southern District Court) Sixuvus v. Victor Willis, New York City, July 7, 2010.

 Testimony by Deposition (Los Angeles, September 2011). Case No. 10-CV-08123 Phoenix
 Phenom v. William Adams, Jr. Stacy Ferguson, et. al.

 Testimony by Deposition (New York City, January 2012). Case No. SACV10-1656JST(RZx)
 Pringle v. William Adams, Jr. Stacy Ferguson, et. al.

 Testimony by Deposition (New York City, June 3, 21, 2013). Case No. CV12-5967
 VMG Salsoul, LLC v. Madonna Ciccone, Shep Pettibone, et al.

 Testimony by Deposition (New York City, September 11, 2013). 11-cv-6811. Marino v. Usher.

 Testimony by Deposition (Burlington, VT, May 20, 2015). RALEIGH, NC #301280 Absent
 Element v. Daughtry.

 Testimony by Deposition (Burlington, VT, May 17, 2016) and in Trial (June 17, 2016) Federal
 District Court, Los Angeles Case No. 15-cv-03462 RGK (AGRx). Skidmore v. Led Zeppelin, et
 al.

 Testimony by Deposition (New York, NY, November 3, 2017) Supreme Court of the State of
 New York, Index No. 650427/2016. Pai v Blue Man Group Publishing, LLC, et al.

 Testimony by Deposition (New York, NY, May 30, 2018) Griffin v. Sheeran. 1:17-cv-05221
 New York Southern District Court

 Testimony by Deposition (Burlington, VT, January 2, 2020). Beatbox Music Pty, Ltd. v.
 Labrador Entertainment, et al. Case No. 2:17-cv-6108. Central District of California.

 Testimony by Deposition (Burlington, VT, May 27, 2020). Smith v. Tesfaye. Case No. 2:19-cv-
 02507-PA-MRWx Central District of California.




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                                                                                Alex Stewart

 Los Angeles: Warner Bros. Entertainment Inc.; Hiscox Insurance Co.; Clair G. Burrill P.C.;
 Sheppard Mullin Richter & Hampton LLP; Doniger Burroughs, APC; Pen Music Group;
 Microhits; Robert S. Besser Law Offices; etc.

 New York: BMG Group; Schwartz Ponterio & Levenson, PLLC; Grubman Shire & Meiselas,
 P.C.; Eisenberg Tanchum & Levy; Sample Clearance Limited; Lastrada Entertainment
 Company; etc.

 Nashville: King and Ballow; Riser House Entertainment, LLC; DeSalvo Law Firm, PLLC;
 Beckett Law Office; etc.

 Elsewhere: K & L Gates (London); Schwartz Cooper (Chicago); Brooks Pierce (Raleigh NC);
 Frank & Rice (Florida); Francis Alexander, LLC (Philadelphia); Rawson Merrigan & Litner
 (Boston); Koepple Traylor (New Orleans); JPMC (Burlington VT); Kile Goekjian McManus
 (Washington DC); Arent Fox LLP (Washington DC) Gould Law Group (Chicago); Richardson
 Patrick Westbrook & Brickman, LLC (Mt. Pleasant SC); Hall Booth Smith & Slover (Atlanta);
 Miller Canfield Paddock & Stone (Detroit); King Mesdag Music Publishing Limited (United
 Kingdom); as well as clients in Canada, Australia, Indonesia, Hong Kong, India, United Arab
 Emirates, Latin America and Europe.

 Classes and seminars in Music Business and Copyright (see above for details)

 Symposium on Music Copyright. University of Vermont, January 2003.


 SELECTED RECORDINGS

 Early Heroes, Dan Silverman. Section playing and solo on Chares Mingus’ The Shoes of the
 Fisherman's Wife…Around the Slide Recordings 02 (2018).

 Rick Davies Thugtet – Tenor saxophone Emlyn Music EM 1003 (2017)

 Rick Davies and Jazzismo, Salsa Norteña, - Tenor saxophone (Recorded in Montreal 2011
 (2012).

 New York Jazz Repertory Orchestra, Le Jazz Hot, featuring Dave Liebman and Vic Juris. Planet
 Arts 310976 - Baritone saxophone, bass clarinet (2009).

 Rick Davies and Jazzismo, Siempre Salsa, featuring Wayne Gorbea. Emlyn Music EM1001 -
 Tenor saxophone (2006).

 Anne Hampton Callaway, To Ella with Love, featuring Wynton Marsalis, Christian McBride,
 Lewis Nash, Cyrus Chestnut. Touchwood Records TWCD 2006 - Tenor saxophone and clarinet
 (1998).

 Peter Herborn, Large, featuring Gene Jackson, Greg Osby, Robin Eubanks, and others. Jazzline
 JL1154-2 – Baritone saxophone and bass clarinet (1998).

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                                                                                Alex Stewart


 Billy Stritch, Waters of March: The Brazilian Album. Sin Drome SD8950 - Tenor saxophone and
 flute (1998).

 Dave Stryker, Nomad, featuring Randy Brecker and Steve Slagle. Steeplechase Records
 SCCD31371 - Baritone saxophone and bass clarinet (1997).

 Frankie Lane: Wheels of a Dream. Touchwood Records TWCD 2020 - Tenor saxophone, flute,
 and alto flute (1997).

 The Bill Warfield Band, The City Never Sleeps. Seabreeze Records CDSB 2048 - Baritone
 saxophone and bass clarinet (1996).



 SELECTED PERFORMANCES: JAZZ AND LATIN
 Burlington Discover Jazz Festival Big Band (Music Director, Contractor, Performer)

 Birth of the Cool: Music by the Miles Davis Nonet. Featuring Ray Vega, trumpet. Performances
 in June 2012 (BDJF), and in September 2012 (UVM), and May 2013 (SUNY Plattsburgh).

 Textures: Jim Hall with Brass featuring the Jim Hall Trio (Jim Hall, guitar, Scott Colley, bass
 and Joey Baron, drums) with brass ensemble, Alex Stewart, conductor. Flynn MainStage, 2010
 Burlington Discover Jazz Festival.

 Paquito D’Rivera Funk Tango. Produced, co-directed, and played saxophone in concert on Flynn
 MainStage with 17-piece orchestra with guests: Paquito D’Rivera, alto saxophone; Diego
 Urcola, trumpet; Alex Brown, piano; Massimo Biocalti, bass; Mark Walker, drums; and special
 guest Ray Vega, trumpet. Burlington Discover Jazz Festival (1 June 2008). Reviews in Free
 Press, AllAboutJazz, and other media.

 Mary Lou Williams Resurgence with Cecilia Smith, vibraphone and Amina Claudine, piano,
 2007 Burlington Discover Jazz Festival, Flynn Center.

 Music of Jim McNeely with special guest Jim McNeely, piano 2006 Burlington Discover Jazz
 Festival, Flynn Center.

 Sketches of Spain: Celebrating the Miles Davis/Gil Evans Collaboration with trumpeter Randy
 Brecker and guest conductor, Joe Muccioli 2005 Burlington Discover Jazz Festival, Flynn
 Center.

 The Grand Wazoo: Music of Frank Zappa, with Ernie Watts, Napoleon Murphy Brock, Ike
 Willis, and Ed Palermo 2004 Burlington Discover Jazz Festival, Flynn Center.

 Duke Ellington Sacred Concert, with David Berger, Priscilla Baskerville, Paul Broadnax, and
 100-voice Choir, 2003 Burlington Discover Jazz Festival, Flynn Center


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                                                                                 Alex Stewart


 Jazz and Latin

 Solo Recital: Chasin’ the ’Trane: Music of John Coltrane. UVM Southwick Recital Hall,
 Septenber 27, 2018.

 Concert: Ray Vega & the Burlington Latin Jazz Orchestra, FlynnSpace, August 9, 2018.

 Recital: Ray Vega & the Burlington Latin Jazz Orchestra, UVM Southwick Recital Hall,
 October 21, 2018.

 Chasin’ the Trane: Homage to John Coltrane, with Ray Vega, trumpet. Juniper, Hotel Vermont,
 2018 Burlington Discover Jazz Festival June 7 and July 18, 2018.

 Chasin’ the Trane: Homage to John Coltrane, with Ray Vega, trumpet. Light Club Lamp Shop,
 Burlington VT, July 26, 2018

 Performances of Alex Stewart Quartet on Jazz Wednesdays at Juniper (Hotel Vermont), Lamp
 Shop Light Club (some performances featured special guest Ray Vega, trumpet), 2018.

 Featured soloist – SUNY Plattsburgh Jazz Festival December 2013.

 James Harvey and Garuda – opening act for Randy Weston in Discover Jazz Festival (2004);
 numerous other performances around region.

 Beboparaka (featuring poetry of Amiri Baraka) andJazzLit.com – jazz and poetry collaborations
 with UVM professors Major Jackson, Tina Escaja, John Gennari and UVM students.
 Performances at the Discover Jazz Festival and local venues. Coverage in the Burlington Free
 Press and Vermont Quarterly (2005, 2006).

 Grupo Sabor (Salsa and Merengue) – Performances in UVM’s Grand Maple Ballroom and
 Brennan’s Pub for Alianza Latina (2010), Higher Ground, Burlington; Red Square; Eclipse
 Theater, Waitsfield; Onteora Club, New York; Burlington Latino Festival (2001-present).

 Performances with UVM jazz faculty (Jeff Salisbury, Joe Capps, Paul Asbell, Patricia Julien,
 Ray Vega, John Rivers, Tom Cleary, Rick Davies, Steve Ferraris) at recitals, concerts, and other
 events (1999-present).

 The Lionel Hampton Orchestra; featured artists: Dizzy Gillespie, Dee Dee Bridgewater, and
 others. Extensive tours of Europe and North America and appearances at major jazz festivals
 including: North Sea, Nice, Montreal, Newport (NY and Saratoga), Biarritz (1989-1991).
 The Bill Warfield Band, The Dorsey Brothers Orchestra, David Berger, Paquito D’Rivera, Clem
 DeRosa, Bobby Shew, David Liebman, Andy Farber, Stan Rubin, Lew Anderson, Billy Mitchell,
 Roland Hanna, Lew Soloff, Randy Brecker and many more (1985-1999).

 The Lehigh Valley Repertory Jazz Orchestra: Sketches of Spain featuring Randy Brecker, An
 Evening with David Liebman, A Tribute to Benny Goodman featuring Buddy DeFranco, and
 Celebrating Louis Armstrong featuring Jon Faddis (1997-2000).

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                                                                                 Alex Stewart


 Rick Davies & Jazzismo

 Burlington Latin Jazz Orchestra, directed by Ray Vega, FlynnSpace, August 9, 2018

 Featured Performer: Jazz Education Network Conference, San Diego, CA January 2015.

 Workshops and concerts, Colectivo Central, Oaxaca, Mexico. June, July 2011.

 With guest pianist/composer Arturo O’Farrill (and sons, Zachary, percussion and
 Adam, trumpet), FlynnSpace. 2010, 2011, 2012, 2013, 2014, 2015, 2017, 2017. With Jonathan
 Maldonado, drums, and Papo Ross, vocals and alto saxophone, 2009.

 With guest artist Ray Vega, FlynnSpace (July 2003, 2004, 2005, 2006, 2007, 2008).

 Appearances at SUNY Plattsburgh Jazz Festival (with Harvie S., 2002; with Chocolate
 Armenteros 2003; with Ray Vega 2008, 2011; with Curtis Fowlkes 2010 ); Red Square and other
 venues.

 Oaxaca, Mexico: Colegio Teizcali, Colectivo Central, Spring 2007.


 SELECTED PERFORMANCES: POPULAR AND BLUES

 Frankie Valli, Ray Charles (Sweden 1999), Mary Wells, Frankie Avalon (Atlantic City), The
 Drifters, Funk Filharmonik, The Funk Collection, Nick Apollo Forte, Little Wilson, Sandra
 Wright Band, Jimmy Branca and the Red Hot Instant Combo, Dave Grippo Funk Band, and
 others (1985-present).

 Contractor, musical director. Joan Rivers. Flynn Center for the Performing Arts. April 26, 2012.

 Orchestra contractor with Bernadette Peters at the Flynn Center of the Arts October 2011.


 CLINICS AND GUEST CONDUCTING

 Guest Conductor, Connecticut Valley District Jazz Festival, January 30-31, 2015.

 Guest Conductor, Winooski Valley Jazz Festival, February 4-5, 2010.

 Adjudicator/Clinician, Vermont All-State Festival, International Association of Jazz Educators
 (IAJE): 2000-2003.

 Guest Conductor, Nassau County (Long Island) All-County Jazz Festival, 1997.




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                                                               Alex Stewart


 MEMBERSHIPS

 American Musicological Society (AMS)

 Society for Ethnomusicology (SEM)

 Society for American Music (Sonneck)

 Latin American Studies Association (LASA)

 Friends of Indian Music and Dance (FIMD), Burlington VT

 Burlington Discover Jazz Festival Advisory Board




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                   EXHIBIT 3
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                   EXHIBIT 4
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      Comparison Video
     Between Plaintiff and
      Defendants' Music
           Videos




       TO BE LODGED
      WITH THE COURT
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                   EXHIBIT 5
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             Music Video for
             Plaintiff's Song



       TO BE LODGED
      WITH THE COURT
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                   EXHIBIT 6
Case 2:22-cv-01508-WLH-AS Document 1 Filed 03/04/22 Page 78 of 80 Page ID #:78




           Music Video for
           Defendants' Song




       TO BE LODGED
      WITH THE COURT
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                   EXHIBIT 7
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      Plaintiff's Registered
      Deposit Copy Sound
           Recording




       TO BE LODGED
      WITH THE COURT
